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                           Attorneys for Individual and Representative
                   12      Plaintiffs STEVE R. ROJAS and ANDREA N.
                           ROJAS, on behalf of themselves and all others
                   13      similarly situated
                   14                                  UNITED STATES DISTRICT COURT
                   15                              NORTHERN DISTRICT OF CALIFORNIA
                   16                                        (SAN JOSE DIVISION)
                   17
                                                                           Case No. 5:18-cv-5841BLF
                   18       STEVE R. ROJAS and ANDREA N.
                            ROJAS, on behalf of themselves and all
                   19       others similarly situated,                     DECLARATION OF DAVID M. BIRKA-
                                                                           WHITE IN SUPPORT OF PLAINTIFFS’
                   20                         Plaintiffs,                  NOTICE OF MOTION AND UNOPPOSED
                                                                           MOTION FOR PRELIMINARY APPROVAL
                   21              vs.                                     OF CLASS ACTION SETTLEMENT
                   22       BOSCH SOLAR ENERGY                             DATE:     September 21, 2022
                            CORPORATION; and DOES 1-20,
                   23       inclusive,                                     TIME:     9:00 a.m.
                                                                           LOCATION: Courtroom 3, 5th Floor
                   24                         Defendants.                            280 S. First Street
                                                                                     San Jose, CA 95113
                   25
                                                                           The Honorable Judge Beth Labson Freeman
                   26
                                                                           Action Filed:        September 24, 2018
                   27

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                      1           I, DAVID M. BIRKA-WHITE, declare as follows:

                      2           1.      I am the principal attorney at Birka-White Law Offices and counsel to Plaintiff

                      3    Steve R. Rojas and Andrea N. Rojas (“Plaintiffs”).

                      4           2.      I am a member in good standing of the California State Bar, and am admitted to

                      5    practice in the United States District Court, Northern District and in numerous district courts

                      6    around the country. I respectfully submit this Declaration in Support of Plaintiffs’ Motion for

                      7    Preliminary Approval of Class Action Settlement. Except as otherwise noted, I have personal

                      8    knowledge of the facts set forth in this Declaration, and could testify competently to them if

                      9    called upon to do so.

                   10             3.      To briefly summarize my experience, I have been the principal attorney at Birka-

                   11      White Law Offices (“BWLO”) for over 43 years and during that time, most of my practice has

                   12      been devoted to complex litigation, product liability class actions, consumer claims and personal

                   13      injury matters. I have served as court-appointed class counsel in more than 30 class actions, most

                   14      involving defective products and consumer claims. For the last 16 years, I have been recognized

                   15      by San Francisco Magazine as a Northern California Super Lawyer in the field of class

                   16      actions/mass torts. For nearly 35 years, I have been AV-rated and included in The Bar Registrar

                   17      of Prominent Lawyers published by Martindale-Hubbell. From 2012 to the present, I have been

                   18      recognized as the “Top 100” Civil Plaintiffs attorneys by the National Trial Lawyers.

                   19             4.      Birka-White Law Offices, has served as lead or co-lead counsel throughout the

                   20      pendency of this litigation. I have performed a primary role in all aspects of the action, including

                   21      client retention, pleadings, discovery, expert witnesses, settlement and notice to class members.

                   22             5.      I have served as lead counsel in three other solar panel class action cases: Allagas v.

                   23      BP Solar International, Inc. et al., U.S. District Court, Northern District of California, Case No.

                   24      3:14-cv-00560-SI; Kuffner v. Suntech America, Inc., et. al., Contra Costa County Superior Court,

                   25      Case No. C13-01328 and Richard Ziccarello, et.al. v. Sanyo Energy (U.S.A.) Corporation; Sanyo

                   26      North America Corporation; Panasonic Corporation of North America; et.al., United States

                   27      District Court (District of New Jersey), Case No. 2:19-cv-16623-ES-CLW.

                   28      ///
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                      1           6.      The Allagas v. BP Solar case was filed on February 6, 2014 and received final

                      2    settlement approval for a national class action on December 22, 2016. My office remains actively

                      3    involved in overseeing the administration of the BP settlement, which has been operating for

                      4    approximately six years and has replaced thousands of solar arrays throughout the United States.

                      5           7.      The Kuffner v. Suntech action was filed on June 21, 2013 and received final

                      6    settlement approval on March 7, 2016. My office oversaw the entirety of the litigation,

                      7    settlement and the distribution of the settlement benefits, which included the replacement of

                      8    approximately 18,000 panels, covering roughly 600 residential units.

                      9           8.      The Ziccarello v. Sanyo case was filed on April 12, 2019 and received final
                   10      settlement approval for a national class action on July 8, 2021. My office remains actively

                   11      involved in overseeing the administration of the Panasonic settlement.

                   12             9.      In the process of handling these cases, BWLO has devoted thousands of hours to

                   13      the investigation, litigation, settlement and administration of these solar panel class actions.

                   14             10.     My co-counsel in this case are Farella Braun & Martel (“FBM”) and Levin, Sedran

                   15      & Berman, LLP (“LEVIN”). I have worked with both firms over the course of many years on

                   16      numerous class action cases, including solar panel cases.

                   17             11.     BWLO, FMB and LEVIN have been appointed as class counsel in this case. ECF

                   18      213, pg. 29, lines 14-16.

                   19             12.     Class Counsel BWLO, FBM and LEVIN are particularly experienced in the
                   20      litigation, certification, trial, and settlement of nationwide class action cases involving defective

                   21      products such as those at issue here. In negotiating this settlement, counsel had the benefit of

                   22      years of relevant experience as well as a thorough familiarity with the facts of this case.

                   23             13.     Attached hereto as Exhibit A is Plaintiffs’ Third Amended Complaint which

                   24      modifies the class definition as follows:

                   25                    All persons or entities in the United States who are the current
                                         owners of Bosch c-Si M 60 NA30119 solar modules or the current
                   26                    owners of premises on which Bosch c-Si M 60 NA30119 solar
                                         modules are installed.
                   27

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                      1              A.    BACKGROUND.

                      2              14.   The settlement follows four years of hard-fought litigation, including three

                      3    motions to dismiss, production and review of 15,000 pages of documents, numerous discovery

                      4    disputes, several of which required Court intervention, and investigations of roof- and ground-

                      5    mounted modules installed in California, Hawaii, Arizona and North Carolina.

                      6              15.   Plaintiffs’ counsel retained nationally recognized solar experts Bill Brooks and

                      7    Eric Daniels, fire safety expert Joseph Zicherman, and solar installation expert Michael Garcia,

                      8    who performed extensive, and expensive, root cause analyses of the NA30119 panels, revealing

                      9    multiple defects triggering fire safety risks, defects requiring removal and replacement of the
                   10      panels.

                   11                16.   In addition, Plaintiffs’ counsel conducted a thorough analysis of the Underwriters

                   12      Laboratory “UL” certification process for the NA30119 panels, which involved UL specialists,

                   13      including UL counsel and staff, to confirm that all of the NA30119 modules, whether roof- or

                   14      ground-mounted, were contractually required to be uniformly manufactured to the same

                   15      specifications, further confirming that the defects were common to all of the modules. Bosch

                   16      agrees that all NA30119 modules were manufactured to the same specifications and that all

                   17      modules should be replaced.

                   18                17.   From the outset of the case, Plaintiffs challenged the scope of the of the April 3,

                   19      2017 Bosch recall through the United States Consumer Product Safety Commission (“CPSC”),
                   20      which limited the recall to roof-mounted NA30119 panels, and excluded ground-mounted panels.

                   21      Plaintiffs further challenged the adequacy of the Bosch recall notice program.

                   22                18.   Plaintiffs filed their Motion for Class Certification on May 24, 2021. (ECF 165)

                   23      The hearing took place on January 6, 2022. After the hearing, the Court issued its Order

                   24      Requiring Parties to Participate in ADR. (ECF 207). On January 21, 2022, the parties filed a

                   25      Notice of Agreement to Mediation with Private Mediator (ECF 212) On March 9, 2022, the

                   26      Court issued its Order Granting in Part and Denying in Part Plaintiffs’ Motion for Class

                   27      Certification (ECF 213). Having received certification of a California class, and armed with this

                   28      detailed knowledge of the case, the parties engaged a well-respected mediator, but failed to reach
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                      1    agreement during the mediation held on March 22, 2022.

                      2            19.    On April 18, 2022, Plaintiffs filed a motion to expand the class definition to a

                      3    nationwide class (ECF 220); and also on April 18, 2022 Bosch Solar filed a Motion for Partial

                      4    Decertification and to Dismiss requesting decertification of portions of the certified class and

                      5    dismissal of Plaintiffs’ Magnuson-Moss claim. (ECF 219)

                      6            20.    After extensive further negotiations, the parties reached an agreement in principle.

                      7    Thereafter the parties negotiated for over three more months to work out the details of the

                      8    Settlement Agreement, notice plan, claims process and attorneys’ fees, before Plaintiffs filed this

                      9    unopposed motion. A copy of the Settlement Agreement in this case is attached as Exhibit B.
                   10              21.    The settlement provides significant and substantial relief. Settlement class

                   11      members, who currently own NA30119 modules, whether roof- or ground-mounted, will have

                   12      their solar arrays replaced at Bosch’s expense. There will be no cap on the cost of replacing the

                   13      panels, no matter where they are located in the United States.

                   14              22.    In addition, with the assistance of nationally recognized notice expert Todd Hilsee,

                   15      the parties have designed and agreed upon a direct notice program, in order to achieve the best

                   16      and most productive notice possible under the circumstances FRCP 23(c)(2)(B). See Declaration

                   17      of Notice Expert Todd B. Hilsee on Settlement Notice Effectiveness.

                   18              23.    Class Counsel believes that the proposed settlement meets all criteria for

                   19      preliminary approval and dissemination of class notice. The settlement is well within the range of
                   20      reasonableness given the consideration offered to class members and the risk of ongoing

                   21      litigation.

                   22              B.     PROCEDURAL HISTORY.

                   23              24.    On September 24, 2018, Plaintiffs Steve R. Rojas and Andrea N. Rojas filed a class

                   24      action complaint on behalf of all purchasers of the Bosch Solar NA30119 modules, asserting that

                   25      the panels suffered from a manufacturing defect that caused serious safety risk, including the risk

                   26      of fire. (ECF 1 at ¶ 1)

                   27              25.    On November 19, 2018, Bosch Solar filed its Motion to Dismiss Plaintiffs’

                   28      Complaint. (ECF 21) On January 4, 2019, Plaintiffs filed their First Amended Complaint against
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                      1    Bosch Solar. (ECF 32) On February 20, 2019, Bosch Solar filed a Motion to Dismiss Plaintiffs’

                      2    First Amended Complaint. (ECF 36) On May 29, 2019, the Court issued an Order Granting in

                      3    Part and Denying in Part the Motion to Dismiss the First Amended Complaint, with leave to amend.

                      4    (ECF 49)

                      5           26.    On June 19, 2019, Plaintiffs filed their Second Amended Complaint. (ECF 53) On

                      6    August 7, 2019, Bosch Solar filed a Motion to Dismiss Plaintiffs’ Second Amended Complaint.

                      7    (ECF 62) On March 6, 2020, the Court issued an Order Granting in Part and Denying in Part

                      8    Defendant’s Motion to Dismiss the Second Amended Complaint, without leave to amend. (ECF

                      9    89)
                   10             27.    On May 24, 2021, Plaintiffs moved for class certification, filing a detailed

                   11      memorandum of points and authorities accompanied by numerous declarations, including four

                   12      expert declarations and extensive exhibits. (ECF 165) On March 9, 2022, the Court issued an

                   13      Order Granting in Part and Denying in Part Plaintiffs’ Motion for Class Certification certifying a

                   14      California class. (ECF 213)

                   15             28.    On April 18, 2022, Bosch Solar filed a Motion for Partial Decertification and a

                   16      Motion to Dismiss. (ECF 219) Also on April 18, 2020, Plaintiffs filed a Motion to Modify

                   17      Scheduling Order, For Leave to Amend Complaint and Requesting Modification of Court's

                   18      Certification Order, requesting expansion of the scope of the certified class to nationwide. (ECF

                   19      220) On April 25, 2022, the parties filed a Joint Motion to Reserve Implementation of Notice Plan
                   20      (ECF 221), and a Stipulation and Proposed Order Setting Briefing Schedule on Cross-Motions

                   21      (ECF 222). On April 28, 2022, the Court issued an Order Granting the Joint Motion to Reserve

                   22      Implementation of the Notice Plan and Vacating Hearing. (ECF 223) On May 17, 2022, the Court

                   23      issued an Order Vacating the June 2, 2022 Hearing Date for Dispositive Motions. (ECF 227) On

                   24      June 2, 2022, the Court issued an Order Terminating All Motions and Vacating All Dates and

                   25      Setting a Hearing Date for Motion for Preliminary Approval of Class Action Settlement. (ECF 231)

                   26      On July 26, 2022, the Court issued an Order Continuing the Hearing on Motion for Preliminary

                   27      Approval of Class Action Settlement from August 4, 2022 to September 21, 2022. (ECF 233)

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                      1           C.      DISCOVERY.

                      2           29.     The parties have engaged in extensive, contentious discovery practice and related

                      3    motions. This included multiple document requests and interrogatories from both sides; production

                      4    and review of approximately 15,000 pages of documents; numerous site inspections of the

                      5    NA30119 modules, ranging from Hawaii to North Carolina; collection, inspection and storage of

                      6    over 400 NA30119 modules for defect analysis; expert inspection of nearly 10,000 panels; and an

                      7    extensive expert root cause analysis of the defects in the NA30119 modules. Throughout the

                      8    discovery process, there were numerous motions to compel before Magistrate Judge Nathaniel

                      9    Cousins, including multiple reviews by this Court.
                   10             D.      EXPERT DISCOVERY.

                   11             30.     Expert discovery in this case was robust and overlapped significantly with merits

                   12      discovery. Plaintiffs disclosed four experts as part of their class certification briefing. They

                   13      included preeminent experts in solder design and fatigue, solar panel failure investigation, solar

                   14      panel design and manufacture, fire safety, and damages. Plaintiffs’ expert witnesses prepared four

                   15      separate reports based upon their respective analysis of documentation, photographs, infrared

                   16      images, x-rays and other advanced imaging, internal Bosch Solar documents, sample modules, fire

                   17      safety materials, relevant literature, on-site inspection of approximately 10,000 installed NA30119

                   18      modules, on-site inspection of approximately 400 removed panels, and destructive testing of dozens

                   19      of panels during the root cause analysis.
                   20             E.      SETTLEMENT NEGOTIATIONS.

                   21             31.     On March 22, 2022, the parties conducted a one-day mediation with retired Superior

                   22      Court Judge Bonnie Sabraw. The parties did not reach a settlement at the mediation. The parties

                   23      engaged in numerous telephonic discussions and email correspondence over the course of the next

                   24      four months. The parties set about negotiating the specifics of the settlement, including hashing

                   25      out the key terms, establishing a mutually agreeable claims process and protocol, selecting a notice

                   26      provider, selecting a claims administrator, and working with the notice provider to develop a notice

                   27      plan. This process required extensive back-and-forth between the parties and repeated consultation

                   28      between defense counsel and their client, and stretched for over three months before a final
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                      1    agreement was reached.

                      2           32.     The attorneys’ fees were negotiated only after all material provisions of the proposed

                      3    settlement were agreed on, and were ultimately resolved pursuant to a mediator’s proposed

                      4    compromise.

                      5           F.      SETTLEMENT TERMS.

                      6           33.     The Settlement Class. The settlement class consists of:

                      7           All persons or entities in the United States who are the current owners of Bosch c-SI M 60

                      8    NA30119 solar modules or the current owners of premises on which Bosch c-SI M 60 NA30119

                      9    modules are installed.
                   10             34.     Claim Period. To receive a settlement remedy, a settlement class member must

                   11      submit a claim form to the notice provider before January 1, 2025, or to the claims administrator

                   12      within the earlier of: (i) twenty-five (25) years of the original purchase date of the settlement panels

                   13      that are the subject of the claim; or (ii) December 31, 2038 (the “Claim Period”).

                   14             35.     Substantive Relief. Settlement class members who own NA30119 modules are

                   15      eligible for full replacement of all their settlement panels. Under the settlement, Bosch will pay the

                   16      cost of removal and disposal of the settlement panels, and the cost of purchase and installation of

                   17      replacement panels. The new panels will have a 25-year warranty. This includes ancillary costs that

                   18      could potentially be required depending on each class member’s specific circumstances, such as

                   19      building permits and panel racking. There is no cap on either the per panel cost of replacement or
                   20      the total cost necessary to replace all solar arrays owned by settlement class members. Of the

                   21      approximately 7,054 remaining NA30119 modules, based on an average installation size of 25

                   22      modules, there are approximately 282 residential installations of NA30119 modules remaining to

                   23      be located and replaced in the United States.

                   24             36.     Notice Provider and Claims Administrator. The proposed notice provider will

                   25      be Richard Simmins of Analytics LLC. The Claims Administrator, who will manage the removal

                   26      and replacement of the NA30119 panels will be Bosch Tool. Bosch Tool was selected because

                   27      they have been performing the same task as part of the Bosch Recall since 2017. Bosch Tool will

                   28      provide quarterly reports to Plaintiffs’ Counsel of all progress removing the remaining class panels.
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                      1    In addition, Bosch Tool will appoint a liaison to Class Counsel to provide updates and respond to

                      2    inquiries from Class Counsel and Class Members.

                      3           G.      SERVICE AWARDS.

                      4           37.     A service award is commonly awarded to the named plaintiffs in class actions, who

                      5    have devoted time and effort to represent a class. The parties agreed that, subject to the Court’s

                      6    final approval, Plaintiffs Steve R. Rojas and Andrea N. Rojas will each receive a $5,000.00 service

                      7    award (for a total of $10,000.00) for their active participation in the litigation, including responding

                      8    to multiple sets of requests for document production; responding to numerous interrogatories;

                      9    sitting for depositions; opening their home to a site inspection by Plaintiffs’ expert Bill Brooks;
                   10      developing familiarity with the relevant solar technology; extensively communicating with Class

                   11      Counsel David M. Birka-White over a period of four years; reviewing and approving the proposed

                   12      settlement terms. Bosch has agreed to pay the service award.

                   13             H.      ATTORNEYS’ FEES AND COSTS.

                   14             38.     Subject to the Court’s approval, Defendant agrees to pay Class Counsel

                   15      $1,400,000.00 in attorneys’ fees and costs. The requested award is substantially below the actual

                   16      lodestar of Plaintiffs’ counsel which is approximately $4,300,000.00. Plaintiffs’ counsel has

                   17      incurred cost to date in the approximate sum of $385,000.00. The requested award will be

                   18      significantly below the accepted range of the awards in similar class actions. Plaintiffs’ counsel

                   19      will submit their motion for an award of attorneys’ fees and costs in a separate motion, and at that
                   20      time will provide a summary of all hours and costs to support the request.

                   21             39.     Given the value of the settlement and the strengths and weaknesses of Plaintiff’s

                   22      claims, it is the opinion of Plaintiff’s counsel that the Settlement Agreement is fair, reasonable, and

                   23      adequate, and will provide valuable benefits to the settlement class. The settlement provides certain

                   24      relief for the settlement class and avoids protracted and costly litigation. The settlement class is

                   25      ascertainable, because the Sanyo Settlement Panels can be identified by the Sanyo panel model

                   26      numbers and serial numbers.

                   27             40.     There are no conflicts between the named Plaintiffs and the absent Class Members.

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                      1            41.     On behalf of Plaintiff and proposed Class Counsel, I respectfully request that the

                      2     Court grant preliminary approval of the settlement.

                      3            I declare under penalty of perjury, under the laws of the State of California, that the

                      4     foregoing is true and correct.

                      5            This declaration is executed this 12th day of September, 2022, at Danville, California.

                      6
                                                                           /s/ David M. Birka-White
                      7                                                    DAVID M. BIRKA-WHITE
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                   12       Plaintiffs STEVE R. ROJAS and ANDREA N.
                            ROJAS, on behalf of themselves and all others
                   13       similarly situated
                   14

                   15                                    UNITED STATES DISTRICT COURT
                   16                                NORTHERN DISTRICT OF CALIFORNIA
                   17

                   18
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                   19       ROJAS, on behalf of themselves and all
                            others similarly situated,
                   20
                                           Plaintiffs,                      THIRD AMENDED COMPLAINT FOR
                   21                                                       DAMAGES
                            vs.
                   22
                            BOSCH SOLAR ENERGY
                   23       CORPORATION; and DOES 1-20,
                            inclusive,
                   24                                                       DEMAND FOR JURY TRIAL
                                           Defendants.
                   25                                                       CLASS ACTION

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                      1            Plaintiffs STEVE R. ROJAS and ANDREA N. ROJAS (“Plaintiffs” or “Rojas”), on

                      2     behalf of themselves and all others similarly situated, allege as follows:

                      3     I.     INTRODUCTION
                      4            1.      This case arises out of the manufacture and sale of Bosch Solar photovoltaic

                      5     modules. All of the solar panels that are the subject of this lawsuit were either manufactured by

                      6     Bosch Solar or were manufactured at the request of Bosch Solar by third-party companies and

                      7     sold under the Bosch Solar name by Defendant Bosch Solar Energy Corporation (“Bosch Solar”).

                      8            2.      The Bosch Solar panels that are the subject of this lawsuit are the Bosch Solar

                      9     modules c-Si M 60 NA30119 (also referred to as “NA30119 Panels”).

                   10              3.      All of the Bosch Solar NA30119 Panels were constructed using the same materials

                   11       and manufactured to the same specifications. The defects in the panels are universal and common

                   12       to all Class Member panels.

                   13              4.      There is no way to repair the defects in the Bosch Solar panels and restore their

                   14       promised and warranted functionality. The only means of addressing the defects in the Bosch

                   15       Solar panels is to remove and replace them with other panels.

                   16              5.      Bosch Solar no longer manufactures solar panels and has exited the solar business.

                   17       Bosch Solar maintains no inventory of comparable non defective panels.

                   18              A.      Bosch Solar c-Si M 60 NA30119 Modules

                   19              6.      The total number of Bosch Solar c-Si M 60 NA30119 modules involved in this

                   20       case is approximately 44,500. Of these 44,500 Bosch Solar c-Si M 60 NA30119 Panels, 28,000

                   21       are roof-mounted. The remainder of approximately 16,500 Bosch Solar c-Si M 60 NA30119

                   22       Panels are ground-mounted.

                   23              7.      The Bosch Solar c-Si M 60 NA30119 Panels suffer from two fatal defects. The

                   24       first defect relates to defective solder joints. The second defect relates to a defective backsheet.

                   25              8.      Both defects reduce power output and create unreasonable fire and safety risks.

                   26              9.      On April 13, 2017, twenty-eight thousand (28,000) roof-mounted c-Si M 60

                   27       NA30119 Panels became the subject of a voluntary recall between Bosch Solar and the United

                   28       States Consumer Product Safety Commission (“CPSC”) as discussed more fully herein below.
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                      1     These panels are referred to as the “Recalled Panels.” For purposes of the recall, Bosch Solar

                      2     arbitrarily distinguished between roof-mounted and ground-mounted panels. Bosch Solar omitted

                      3     approximately 16,500 ground-mounted c-Si M 60 NA30119 modules from the recall.

                      4             10.      Whether roof-mounted or ground-mounted, all c-Si M 60 NA30119 Panels are

                      5     defective and all 44,500 panels pose a serious fire and safety risk to all consumer and commercial

                      6     end users of these panels because there are defects in solder joints that generate excessive heat.

                      7     This excessive heat poses a known safety risk, admitted by Bosch, in that the heat can ignite

                      8     roofing materials, or any cellulose materials or debris below or near ground-mounted

                      9     installations.

                   10               11.      While Bosch Solar concedes that the roof-mounted panels can ignite roofing

                   11       materials and potentially injure inhabitants, it incorrectly contends that overheating solder joints

                   12       do not pose a safety risk in ground-mounted installations. In seeking CPSC’s approval of the

                   13       exclusion of ground-mounted panels from the recall, Bosch’s representative stated that “even if

                   14       grass or some other material on the ground were to ignite, the damage would be solely to

                   15       property and not persons, who could run or walk away from any fire…”

                   16               12.      The recent Carr, Paradise and Tubbs wildfires near Redding, in Paradise,

                   17       California, and in Sonoma County, respectively, reveal the devastation that can result from

                   18       wildfires caused by the proximity of electrical equipment to dry grass and brush. Each of these

                   19       fires are alleged to have been caused, in part, by sparks from poorly maintained electrical

                   20       equipment and wires. The potential of the defective ground-mounted panels to ignite surrounding

                   21       grass or brush due to the generation of excessive heat poses a serious risk of a similar costly and

                   22       deadly chain of events.

                   23               13.      The Carr Fire resulted in $1.5 billion of insurance losses and $158.7 million

                   24       dollars of suppression costs. A total of 1,079 residences, 22 commercial structures and 503

                   25       outbuildings were completely destroyed. Many more buildings were damaged. Three firefighters

                   26       and five civilians were killed.

                   27               14.      The Paradise Fire, a/k/a the Camp Fire, was the costliest global disaster for 2018,

                   28       according to the Los Angeles Times. Total damages were an estimated 16.5 billion
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                      1     dollars. Eight-five (85) civilians died in the fire. A total of 18,804 structures were completely

                      2     destroyed and 564 structures were damaged.

                      3             15.    The 2017 “Tubbs Fire” in Sonoma County was caused by a private electrical

                      4     system “adjacent” to a residence, according to the official CalFire investigation. The Tubbs Fire

                      5     resulted in $1.2 billion of damage in the City of Santa Rosa alone, as well as $100 million of

                      6     suppression costs. Twenty-two (22) people are believed to have died as a result of the Tubbs

                      7     Fire.

                      8             16.    As more fully described hereinafter, although Bosch Solar did implement a recall

                      9     notice plan, which Bosch Solar convinced the CPSC to accept, the plan itself was a sham in that it

                   10       failed to notify the vast majority of the end users of the 28,000 roof-mounted Recalled Panels.

                   11               17.    Bosch Solar represented to the CPSC that the consumers of the Recalled Panels

                   12       could be notified directly; but in fact, Bosch Solar did not do so. As a result, the majority of the

                   13       Recalled Panels remain installed and the safety risks caused by the defects remain unabated.

                   14               18.    Plaintiffs seek recovery on behalf of themselves and all owners and end-users of

                   15       all 44,500 c-Si M 60 NA30119 Panels, for breach of the warranty and violations of the Magnuson

                   16       Moss Warranty Act. Plaintiffs also seek recovery and injunctive relief for violation of consumer

                   17       protection statutes for unfair, unlawful, deceptive and fraudulent business practices for a

                   18       California class only.

                   19               B.     Backsheet Delamination Defect

                   20               19.    In addition to the defective solder joints that led to Bosch Solar initiating the

                   21       voluntary recall with the CPSC, all c-Si M 60 NA30119 Panels suffer from an additional

                   22       undisclosed defect. As more fully discussed below, the Bosch Solar modules have a defective

                   23       backsheet. The backsheet is a plastic sheet that is necessary to encapsulate and protect the

                   24       module from moisture penetration. The backsheets installed on all Bosch Solar c-Si M 60

                   25       NA30119 Panels are defective in that they have delaminated, cracked and degraded.

                   26               20.    Similar to the defective solder joints precipitating the recall, the cracking and

                   27       failing backsheets are not repairable, and the panels must be removed and replaced.

                   28       Both the solder defect and the backsheet defect have resulted in a breach of the Bosch Solar
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                      1     Product and Performance Warranty, and pose fire and safety risks to the end-user.

                      2            C.      Bosch Solar Panels With the “Standard Test Conditions” Requirement to
                                           Prove a Warranty Claim
                      3

                      4            21.     The second category of relief for which Plaintiffs seek recovery relates to an

                      5     unconscionable and fraudulent provision universally included as part of the “Warranty Claim

                      6     Verification and Procedure” in all Bosch Solar express warranties for all solar panels

                      7     manufactured and sold under the name Bosch. These solar panels include, but are not limited to

                      8     all Bosch Solar Crystalline Series Modules listed as part of the Warranty Appendix to the Bosch

                      9     Solar Limited Warranty for photovoltaic modules and are as follows:

                   10              “Warranty Appendix: List of Covered Bosch Solar Crystalline Series Modules

                   11                                                 c-Si M 60 -16

                   12                                              c-Si M 60 NA30117

                   13                                              c-Si M 60 NA42117

                   14                                              c-Si M 60 NA44117

                   15                                              c-Si M 60 NA30119

                   16                                              c-Si P 72 NA21126”

                   17              A copy of the Bosch Solar Limited Warranty is attached hereto and marked Exhibit A.

                   18       The Warranty is also referred to as the Bosch Solar “Express Warranty.” The dates and volume

                   19       of production of these panels are unknown and will be established through discovery.

                   20              22.     As more fully discussed herein below, Bosch Solar seeks to enforce an

                   21       unconscionable warranty provision that requires that all end-users who submit a warranty claim

                   22       must independently prove, at the end user’s cost, that “the performance of the Module no longer

                   23       meets the minimum performance warranted by Bosch.” The Bosch Solar Express Warranty

                   24       requires that all modules that are the subject of a performance warranty claim shall be measured

                   25       under “standard test conditions.” Unbeknownst to end users of Bosch Solar panels, the “standard

                   26       test conditions,” to which Bosch Solar requires adherence to assert a warranty claim, are

                   27       enormously costly and technically complex and must be performed in the controlled environment

                   28       of a solar laboratory utilizing sophisticated equipment and machinery. The cost of such testing
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                      1     likely exceeds the entire cost of the solar array itself, thus creating and unconscionable barrier to

                      2     legitimate warranty claims.

                      3            23.     This misleading and underhanded Standard Test Conditions (“STC”) warranty

                      4     provision is hidden and intentionally deceptive. It shifts the entire burden of proving a defect or

                      5     performance claim, and the cost thereof, to the consumer.

                      6            24.     By analogy to the world of automobile repair, where a car owner is to assert a

                      7     warranty claim, rather than the manufacturer inspecting and diagnosing the problem, the car

                      8     owner would have to hire an expert to perform the tests and secure the equipment to diagnose the

                      9     vehicle pursuant to the manufacturer’s specifications. The costs of performing the tests would

                   10       likely exceed the value of the car, for which the consumer is not reimbursed even if the consumer

                   11       proves the defect. Further, if the manufacturer chooses to perform separate diagnostic tests, then

                   12       the manufacturer would be entitled to reimbursement of the entire cost of conducting such tests

                   13       from the party submitting the warranty claim.

                   14              25.     The Paragraph 24 analogy fairly describes the hidden and deliberately deceptive

                   15       impact of the “Bosch Solar Warranty Claim Procedure.” The Bosch Solar warranty suppression

                   16       and cost shifting scheme was fraudulently concealed from the consumers by Bosch Solar and is

                   17       unconscionable and unenforceable.

                   18              26.     The STC warranty provision causes the limited remedy to fail of its essential

                   19       purpose because a claimant cannot perfect the STC requirements and therefore be entitled to the

                   20       remedy of panel replacement or refund. Plaintiffs are entitled to all consequential damages,

                   21       including but not limited to, labor to remove and replace the panels, the cost of new panels and

                   22       the difference of value between the power production promised and the power actually received.

                   23              27.     As to the c-Si M 60 NA30119 class, Plaintiffs seek all consequential damages

                   24       including the cost of new panels, labor to install and value of lost power.

                   25              28.     As to the end users of all other of Bosch Solar Crystalline panels as set forth in

                   26       paragraphs 2 and 21 herein, Plaintiffs seek recovery for injunctive relief pursuant to consumer

                   27       protection statutes to enjoin Bosch Solar from enforcing the warranty claim “standard test

                   28       conditions” requirement. Plaintiffs further seek injunctive relief to compel Bosch, and not the
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                      1     warranty claimant, to pay for and perform for inspection and testing of all panels subject to

                      2     warranty claims.

                      3     II.    PARTIES AND VENUE
                      4            29.     Defendant Bosch Solar is a corporation organized and existing under the laws of

                      5     the State of Michigan since December 2010, which maintains executive offices at 38000 Hills

                      6     Tech Drive, Farmington, Michigan. Bosch Solar has been registered to transact business in

                      7     California since January 2011, with a principal place of business in California located at 4009

                      8     Miranda Avenue, Palo Alto, California 94304.

                      9            30.     Bosch Solar was incorporated on December 29, 2010, following the conversion on

                   10       December 23, 2010, of Bosch Solar Energy Corp., a Delaware corporation that maintained a

                   11       principal place of business in California at 4009 Miranda Avenue in Palo Alto, into Bosch Solar

                   12       Energy Corp., the existing Michigan corporation.

                   13              31.     Although Bosch Solar has officially reported a business address at various

                   14       Michigan locations since its incorporation, Information Updates filed annually with the State of

                   15       Michigan for the years during which the Bosch Solar panel warranties were issued list the

                   16       business address of all of Bosch’s officers and directors as 2988 Campus Drive, San Mateo,

                   17       California, demonstrating that the operational and de facto headquarters of Bosch Solar Energy

                   18       Corporation were always located in California during the period relevant to the complaint.

                   19              32.     Plaintiffs Steve R. Rojas and Andrea N. Rojas reside at 29294 Juniper Avenue,

                   20       Moreno Valley, California. On or about October 28, 2012, Plaintiffs entered into a Prepaid Solar

                   21       Power Agreement with Kilowatt Systems, LLC (“Kilowatt”) to acquire and use forty-two (42)

                   22       Bosch Solar c-Si M 60 NA30119 Panels at a cost of Twenty-Five Thousand Three Hundred

                   23       Thirty-Nine and 22/Dollars ($25,339.22). Kilowatt was the initial purchaser of these 42 panels

                   24       and initially held title to the Panels. The Bosch Solar warranties alleged herein were part of the

                   25       “basis of the bargain” of the purchase of the 42 Panels by Kilowatt, and Kilowatt also relied upon

                   26       the existence of the warranty in entering the transaction, as otherwise, Kilowatt would not have

                   27       entered into the Prepaid Solar Power Agreement with Plaintiffs. Plaintiffs have always been

                   28       intended beneficiaries of the warranty provided in conjunction with the purchase of the Panels by
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                      1     Kilowatt, as Plaintiffs have been the “end-users” of the panels as defined by the Bosch Solar

                      2     Express Warranty. Subsequently, Plaintiffs obtained title for these panels from Kilowatt and

                      3     became the end users of the forty-two (42) Bosch Solar panels installed on their property. As

                      4     such, they also qualify as intended beneficiaries by virtue of the status as subsequent owners. See

                      5     paragraphs 209 to 214 for further explanation.

                      6            33.     Plaintiffs are unaware of the true names and capacities of the Defendants sued

                      7     herein as DOES 1 through 20, and therefore sue these Defendants by such fictitious names.

                      8     Plaintiffs will amend this complaint to allege their true names and capacities when they are

                      9     ascertained. Plaintiffs are informed and believe that each of the fictitiously named Defendants is

                   10       responsible in some manner for the occurrences herein alleged and that the damages suffered by

                   11       Plaintiffs and the Class, were proximately caused by their conduct.

                   12              34.     Plaintiffs are informed and believe that all Defendants, including the fictitious

                   13       DOE Defendants 1 through 20, were at all relevant times acting as actual or ostensible agents,

                   14       conspirators, partners, joint venturers or employees of all other Defendants and that all acts

                   15       alleged herein occurred within the course and scope of that agency, employment, partnership, or

                   16       enterprise, and with the express or implied permission, knowledge, consent, authorization and

                   17       ratification of their Co-Defendants.

                   18              35.     This Court has jurisdiction over this action pursuant to the Class Action Fairness

                   19       Act, 28 U.S.C. § 1332(d), because this is a class action in which (1) there are at least 100 class

                   20       members in the proposed class; (2) the combined claims of the proposed class members exceed

                   21       Five Million and 00/100 Dollars ($5,000,000.00) exclusive of interest and costs; and (3) there is

                   22       minimal diversity as Plaintiffs and certain members of the proposed class are citizens of the State

                   23       of California and Defendant is a citizen of Michigan.

                   24              36.     This Court has personal jurisdiction over Bosch Solar pursuant to 28 U.S.C. §

                   25       1391(a)(1) because its principal place of business in California is located in Palo Alto. Bosch

                   26       Solar has purposefully availed itself of the privilege of conducting business activities in the State

                   27       of California by selling and warranting solar panels and has maintained systematic and

                   28       continuous business contacts within the State of California, thus rendering the exercise of
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                      1     jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

                      2            37.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)(1), (c)(2) & (d)

                      3     because Defendant’s principal place of business is located in Palo Alto, California.

                      4     III.   FACTUAL ALLEGATIONS
                      5            A.      The Benefit of the Bargain of the Bosch Solar Warranty

                      6            38.     Purchasing a Bosch Solar panel system represents a multi-decade investment. The

                      7     decision to install a Bosch Solar system was a major financial commitment and investment for

                      8     Plaintiffs and all class members.

                      9            39.     Plaintiffs, and all class members, made the commitment to invest in a Bosch Solar

                   10       system based upon three fundamental warranty promises from Bosch: 1) that the panels would be

                   11       free from defects in material and workmanship; 2) that the panels would perform for 20-25 years;

                   12       and 3) that the panels would be safe. All three of these promises have been broken.

                   13              40.     Plaintiffs Steve and Andrea Rojas paid Twenty-Five Thousand Three Hundred

                   14       Thirty-Nine and 22/Dollars ($25,339.22) for their Bosh solar system. The purchase amount was

                   15       one of the most significant and largest financial commitments made by Plaintiffs in the course of

                   16       their thirty-six year marriage.

                   17              41.     Approaching the age of retirement, Plaintiffs, like all class members, were

                   18       attempting to reduce their future electric bills as part of their financial planning.

                   19              42.     Investment in a solar power system required that the Plaintiffs pay “upfront” for

                   20       electricity that the Bosch Solar promised would be generated for the next 25 years.

                   21              43.     No one would pay for electricity in advance were it not for the fact that the

                   22       warranty period substantially exceeds the time it would take to receive the return on their

                   23       investment. Generally, it takes between 5 and 10 years for the upfront investment to be returned

                   24       through savings on electric bills.

                   25              44.     The return on that investment is directly related to the amount of electricity the

                   26       Bosch Solar energy system generates year after year. If the panels are defective or prematurely

                   27       fail, the solar system degrades and the value from the solar system is lost.

                   28              45.     Kilowatt , and other companies that purchase the Panels and enter into Prepaid
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                      1     Power Purchase agreements with end-users also understand the warranties alleged herein to form

                      2     part of the basis of the bargain, and rely upon the existence of the warranty, in entering such

                      3     contracts with end-users, so that the continued supply of power, as provided by the Prepaid Power

                      4     Purchase agreement, can be maintained, and so that defective or underperforming panels may be

                      5     replaced. Indeed, the agreement between Kilowatt and Sullivan defines the “Consumer” as the

                      6     “homeowner…who owns (or own) a Host Site.”

                      7            46.     Moreover, Bosch Solar intended the warranties to be part of the basis of the

                      8     bargain. The warranties themselves have a listing of the model numbers to which they apply,

                      9     including the model number used and now owned by Plaintiffs. Moreover, Bosch Solar

                   10       manifested its understanding and intent that the warranties were part of the basis of the bargain,

                   11       by responding to Plaintiffs’ warranty claim, including the written agreement (never performed by

                   12       Bosch Solar or Baker to replace the plaintiffs Panels, even though they were not part of the recall.

                   13       IV.    THE WARRANTY
                   14              47.     The Bosch Solar Limited Warranty for photovoltaic modules provides, in part, as

                   15       follows:

                   16              “Limited Warranty for photovoltaic modules
                   17
                                   Bosch Solar Energy Corp. provides a product warranty and a performance
                   18              warranty for its photovoltaic modules (hereinafter “Module” or
                                   “Modules”) listed is [sic] the Appendix. The product warranty (the
                   19              “Product Warranty”) covers the material and workmanship of the Modules
                                   (see section A below). The performance warranty (the “Performance
                   20              Warranty) covers loss of performance (degradation) and minimum output
                   21              of the Modules (see section B below).

                   22              A:      Product Warranty

                   23              Bosch Solar Energy Corp. warrants to the Consumer (defined below) that
                                   the Module is free of defects in material and workmanship for a period of
                   24              ten (10) years from the date of delivery, subject to the Warranty
                   25              Conditions. The Consumer is the final customer or end-user that properly
                                   places the Modules into operation for the first time. The date of delivery
                   26              as used in this Limited Warranty shall be the earlier of (i) the date of
                                   installation by the Consumer, or (ii) ninety (90) days after delivery of the
                   27              Module by Bosch Solar Energy Corp. to the Consumer.
                   28
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                      1           B:     Performance Warranty
                      2           Bosch Solar Energy Corp. warrants to the Consumer that the Module will:
                      3
                                  a)     within a period of ten years from the date of delivery provide at
                      4                  least 90%; and

                      5           b)     within a period of 25 years from the date of delivery provide at
                                         least 80%
                      6

                      7           of the minimum performance set forth in the data sheet (defined as the
                                  lower sorting limit of the respective module power class less the power
                      8           measurement tolerance).

                      9           C:     Warranty Conditions
                   10
                                  1.     General
                   11
                                  1.1    These Warranties are granted to the Consumer or shall transfer
                   12                    from the Consumer to subsequent buyers / end users for the
                                         remainder of the warranty period, provided the subsequent buyers /
                   13                    end users can show that the Modules have not been modified or
                                         relocated from their originally installed location.
                   14

                   15             2.     Disclaimers/Liability Limitations

                   16             2.3    These Warranties are exclusive and in lieu of all other express and
                                         implied Warranties whatsoever, including but not limited to the
                   17                    implied Warranties of merchantability and fitness for particular
                                         purpose. The liability of Bosch Solar Energy Corp. under these
                   18
                                         Warranties shall not exceed the purchase price paid by the
                   19                    Consumer for the Module(s), and under no circumstances shall
                                         Bosch Solar Energy Corp. or any of its affiliates, be liable to the
                   20                    Consumer or any other third party for any consequential,
                                         incidental, indirect, commercial (loss of use, revenue, profits, or
                   21                    down time) or punitive damages whatsoever.
                   22
                                  2.4    The sole obligation of Bosch Solar Energy Corp. under these
                   23                    warranties shall be, at its sole discretion, to (i) replace the Module
                                         with a functional module of the same type, (ii) remedy the defects,
                   24                    or (iii) refund the unamortized portion of the purchase price of the
                                         Module. In the event that the type of Module is no longer
                   25                    available at the time of the warranty claim, Bosch Solar Energy
                                         Corp. may replace such Module with another type of solar Module
                   26
                                         (different size, shape, color and/or capacity).
                   27

                   28
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                      1            3.      Warranty Claim Verification and Procedure
                      2            3.2     All warranty claims must be accompanied by (i) the original bill of
                      3                    sale for the Module, and (ii) proof that (a) there is a defect in the
                                           materials and/or workmanship of the Module, or (b) the
                      4                    performance of the Module no longer meets the minimum
                                           performance warranted by Bosch Solar Energy Corp.
                      5
                                   3.3     Bosch Solar Energy Corp. or its authorized representative(s)
                      6                    reserve the right to verify the claim that the performance of the
                      7                    Module no longer meets the minimum performance warranted
                                           under the Performance Warranty.
                      8
                                           Module Performance shall be measured by Bosch Solar Energy
                      9                    Corp. under standard test conditions (25° C cell temperature,
                                           irradiation 1000 W/m2 and spectrum AM 1.5). Output will be
                   10
                                           measured in each case at the ends of the pre-assembled connector
                   11                      on the rear of the module. The Consumer is responsible for
                                           maintaining the standard test conditions while producing evidence
                   12                      that the performance has fallen below the guaranteed minimum
                                           performance.
                   13
                                   3.4     Claims submitted under these warranties must be submitted within
                   14
                                           three (3) months of the occurrence of an event placing the
                   15                      Consumer on notice that a claim under one of the warranties has or
                                           may have arisen. The burden of showing compliance with this
                   16                      time limitation lies with the Consumer. Claims not submitted
                                           within this period will not be considered.
                   17
                                   3.5     All disputes arising from this warranty shall be governed by the
                   18
                                           laws of the State of Michigan and conflict of law rules shall not
                   19                      apply.”

                   20              48.     In order to entice consumers and end-users to purchase or use the Bosch Solar

                   21       system, Bosch Solar provided a product warranty and a performance warranty. Under the product

                   22       warranty, Bosch Solar Energy Corp. warrants to the consumer or subsequent owner and end-user

                   23       that the panels would be “free from defects in materials and workmanship” as part of its 10 year

                   24       “Product Warranty.”

                   25              49.     Bosch Solar also promised as part of its “performance warranty” that the panels

                   26       would not lose more than 10% to 20% of their power output capacity over the first 25 years.

                   27       Bosch Solar guaranteed that their panels would produce electricity at 80% - 90% of their power

                   28       output rating for 25 years. In the absence of the warranties, Plaintiffs, and all class members
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                      1     would not have purchased the Bosch Solar panels.

                      2     V.      THE RECALLED MODULES
                      3             A.      The Bosch Solar Recall and Product Safety Recall Notice
                      4             50.     On April 3, 2017, in conjunction with the CPSC, Bosch Solar Services recalled

                      5     approximately 28,000 solar panels “due to fire hazard.”

                      6             51.     Total Number of Products Involved. According to information obtained by

                      7     Plaintiffs’ counsel through the Freedom of Information Act (“FOIA”) approximately 44,500

                      8     Bosch Solar modules were manufactured with the defect, 28,000 of which have been recalled are

                      9     the subject of this lawsuit.

                   10               52.     Dates of Manufacture and Sale. The Bosch Solar c-Si M 60 NA30119 Panels

                   11       were manufactured between September 15, 2011 and March 31, 2012 and were sold in the United

                   12       States beginning October 2011 and continuing through May 2013 and possibly beyond, according

                   13       to proof.

                   14               53.     The Bosch Solar Product Safety Recall Notice reads as follows:

                   15                        “Why is Bosch Solar Services replacing the modules?

                   16                       Bosch Solar observed that a small number of c-Si M 60 NA30119

                   17                       modules exhibited what appeared to be heat marks near some solder

                   18                       joints. Bosch Solar then conducted a detailed technical review to

                   19                       determine the cause of the marks. Through this analysis, Bosch Solar

                   20                       determined that where electrical contacts to the solder had degraded,

                   21                       the resulting contact resistance could result in heat. If the heat were

                   22                       great enough, and if the mounting structure or embedding material

                   23                       were flammable, Bosch Solar determined that it was theoretically

                   24                       possible for a fire to result. Although no such fires have been

                   25                       reported, Bosch Solar commenced this recall to ensure the quality of

                   26                       its products and the safety of its customers.”

                   27               54.     According to the CPSC “Recall Handbook,” the objectives of a recall are:

                   28                       a.      to locate all defective products as quickly as possible;
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                      1                     b.     to remove defective products from the distribution chain

                      2                            and from the possession of consumers; and

                      3                     c.     to communicate accurate and understandable information in

                      4                            a timely manner to the public about the product defect, the

                      5                            hazard, and the corrective action. Companies should

                      6                            design all informational material to motivate retailers and

                      7                            media to get the word out and consumers to act on the

                      8                            recall.” (Recall Handbook published by the Consumer

                      9                            Product Safety Commission (March 2012)).

                   10                 55.   The Recall Handbook further states:

                   11                       “A company that undertakes a recall should develop a

                   12                       comprehensive plan that reaches throughout the entire distribution

                   13                       chain to consumers who have the product. The company must

                   14                       design each communication to reach affected consumers, motivate

                   15                       people to respond to the recall and take the action requested by the

                   16                       company.” (Recall Handbook published by the Consumer Product

                   17                       Safety Commission (March 2012)).

                   18                 56.   Failed Recall Notice Plan. The recall notice plan implemented by Bosch Solar

                   19       accomplished no direct notice to the end-user. The notice plan involved little more than Bosch

                   20       Solar sending a letter to its forty-two (42) distributors requesting their distributors to contact

                   21       installers who sold Bosch Solar panels to end-users, and then, provide Bosch Solar with the

                   22       names and contact information of persons to whom they had sold the Bosch Solar NA30119

                   23       Panels.

                   24                 57.   This attenuated notice plan was therefore fully contingent on the willingness of

                   25       distributors to expend their own time and resources to contact the contractors to whom they sold

                   26       the panels. The cooperation of the distributors, even for the limited task of sending a letter to

                   27       their customers, who were the contractor/installers and not the end-users, was entirely voluntary.

                   28       Nothing under the rules of the CPSC mandated the cooperation of the distributors.
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                      1            58.     Making it even less likely that the distributors would voluntarily implement the

                      2     Bosch Solar notice plan was the fact that Bosch Solar refused to pay the distributors or installers

                      3     for the considerable time and expense they would be required to expend in order to send letters to

                      4     their installer customers.

                      5            59.     Nowhere does the notice program indicate that Bosch Solar had access to the

                      6     addresses of any end-users. Yet Bosch Solar successfully argued to the CPSC that “...because

                      7     these consumers can be identified, direct communications with the consumers makes press

                      8     releases, point of sale posters, and other indirect means of communication unnecessary.”

                      9     (November 3, 2016 letter from Bosch Solar counsel Creighton R. Magid to Sheela Kadambi,

                   10       Compliance Officer, Defect Investigations Division, Office of Compliance and Field Operations,

                   11       U.S. Consumer Product Safety Commission.)

                   12              60.     In fact, consumers could not be identified by Bosch Solar without a more

                   13       extensive and expensive notice program. Bosch Solar did not achieve “direct communication”

                   14       with its end-users.

                   15              61.     According to recall reports submitted by Bosch Solar to the CPSC regarding the

                   16       impact of the recall notice plan, a sum total of reported responses to the Bosch Solar noticed

                   17       program consisted of 13 phone calls and 13 emails and no response letters. It is unknown what

                   18       entities generated these responses.

                   19       ///

                   20       ///

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                      1            62.     The following Corrective Action Plan Summary, prepared by the CPSC indicates

                      2     that Bosch Solar “notified their dealers about the recall,” not consumers and end-users.

                      3                                       Corrective Action Plan Summary

                      4      DATE               FIRM AND PRODUCT           ALLEGED                    CORRECTION
                      5                                                    HAZARD                     NARRATIVE
                                                Bosch Solar Energy                                    The firm notified their
                             May 17, 2017       Corporation                Fire Hazard                dealers about the recall.
                      6
                                                2988 Campus Drive                                     They will offer all their
                      7                         Suite 100                                             consumers a free
                                                San Mateo, CA 94403                                   replacement. They
                      8                                                                               conducted a Joint PR
                      9                         Bosch Solar Roof-                                     with the Commission.
                                                Mounted
                   10                           Solar Panels, model
                                                number: c-Si M 60
                   11                           NA30119
                   12
                                   63.     The Bosch Solar CPSC recall notice program was ineffectual and inconsistent with
                   13
                            commonly accepted practices for achieving direct notice to consumers.
                   14
                                   B.      All Bosch Solar c-Si M 60 NA30119 Panels Are Defective, Dangerous and
                   15                      Must Be Replaced
                   16
                                   64.     The fact that Bosch Solar entered into a voluntary recall program with the CPSC
                   17
                            does not alter the admission by Bosch Solar that the panels are defective and present a serious fire
                   18
                            and safety risk to end-users.
                   19
                                   65.     Nor does the recall excuse Bosch Solar from performing its obligations pursuant to
                   20
                            the Express Warranty which provides “...that the modules are free from defects in materials and
                   21
                            workmanship for a period of ten (10) years from the date of delivery…” The recall is an
                   22
                            admission by Bosch Solar that the c-Si M 60 NA30119 Panels are defective and that Bosch Solar
                   23
                            has breached the Express Warranty.
                   24
                                   66.     All Bosch Solar c-Si M 60 NA30119 Panels, whether roof-mounted or ground-
                   25
                            mounted must be removed and replaced pursuant to the terms and conditions of the Bosch Solar
                   26
                            Express Warranty.
                   27
                            ///
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                      1              C.    Bosch’s Refusal To Pay The Reasonable Expenses of Inspecting Recalled,
                                           Defective and Underperforming Panels
                      2

                      3              67.   Bosch Solar has also failed to design or implement an adequate replacement
                      4     protocol, in that, in the limited number of instances where the Recalled Panels have been located
                      5     and identified, Bosch Solar fails to replace the panels or there are substantial and unjustified
                      6     delays in doing so. This occurs because Bosch Solar failed to hire a competent administrator to
                      7     implement the recall or to secure an adequate number of solar contractors to actually remove and
                      8     replace the Bosch Solar panels.
                      9              68.   In addition, Bosch Solar refuses to hire and pay solar contractors to ascend roofs to
                   10       confirm the presence of the Recalled Panels. Bosch Solar also refuses to pay end-users for the
                   11       inspection related costs to determine if a person has the Recalled Panels or other Bosch Solar
                   12       Crystalline series modules that are underperforming or defective. This imposes an unreasonable
                   13       burden of identifying the panels upon the end-user as a condition for securing the benefits of the
                   14       warranty or the recall and forces the end-user to incur substantial expense that should be paid by
                   15       Bosch.
                   16                69.   This is true because it is unsafe for an end user/customer to climb a ladder, often
                   17       15 to 25 feet high, to photograph and identify panels.
                   18                70.   In addition, the module number can only be found on a label located on the back
                   19       side of the panel. This requires that each and every panel be removed from its brackets on the
                   20       roof in order to see the identifying label. It also requires the cable which conducts high powered
                   21       and dangerous electricity to be detached because the panel cannot otherwise be turned over to see
                   22       the label.
                   23       ///
                   24       ///
                   25       ///
                   26       ///
                   27       ///
                   28       ///
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                      1     The photograph below depicts a label on the back side of a panel from the Rojas solar array.

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                   16                                Label on the back side of a panel reflecting the
                                                  Bosch Solar serial number identified as “c-Si M 60 NA30119”
                   17

                   18              71.     Both the Bosch Solar recall notice plan and the warranty procedure not only put

                   19       the burden and risk of identifying the Recalled Panels on the homeowner, it instructs or

                   20       encourages the homeowner to summon the installers of the Bosch Solar panels, who may or may

                   21       not still be in business, to perform the costly and time consuming task of identifying the panels.

                   22       Bosch Solar will not pay installers for the expensive task of identifying its panels.

                   23              72.     The same is true for panels subject to a warranty claim. Bosch Solar will not pay

                   24       for a qualified solar contractor to conduct an inspection made necessary by the defective and

                   25       unsafe panels. In this way, Bosch Solar unfairly, unlawfully and fraudulently shifts the burden of

                   26       warranty inspections to the consumers.

                   27       ///

                   28       ///
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                      1     VI.    THE BOSCH SOLAR WARRANTY DEPRIVED PLAINTIFFS AND THE CLASS
                                   OF THE BENEFIT OF THE BARGAIN
                      2
                                   A.      The Backsheet Delamination Defect
                      3

                      4            73.     The second Bosch Solar panel defect, common to all Bosch Solar Panels,

                      5     purchased by Plaintiffs and the Class, is known as delamination.

                      6            74.     A solar panel consists of several layers of material that is vacuum sealed in order

                      7     to prevent water and air from coming in contact with the cells which generate electricity, a

                      8     condition essential to the successful operation of the panel.

                      9            75.     The layers of the Bosch Solar panels are depicted below:

                   10

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                   20              76.     The Bosch Solar panels consist of five layers: glass, the plastic coating encapsulant
                   21       (commonly known as EVA), solar cells, backsheet, and the back EVA plastic coating
                   22       encapsulant.
                   23              77.     Delamination is the detachment of the laminated components of a solar panel.
                   24       Delamination occurs when the bond between the plastics on the back side of the panel separate.
                   25       In the case of the Bosch Solar c-Si M 60 NA30119 Panels, the delamination causes the backsheet
                   26       to flex and crack.
                   27       ///
                   28       ///
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                      1           78.   The photographs below depict panels from the Rojas solar array.

                      2
                                                       Delaminated and Cracked Backsheet
                      3                  in Bosch Solar c-Si M 60 NA30119 Module at the Rojas Property
                      4

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                      1
                                                Cracked Backsheet Running the Length of the
                      2                  Bosch Solar c-Si M 60 NA30119 Module at the Rojas Property
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                      1                         Cracked Backsheet Running the Length of the
                                         Bosch Solar c-Si M 60 NA30119 Module at the Rojas Property
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                      1                         Cracked Backsheet Running the Length of the
                                         Bosch Solar c-Si M 60 NA30119 Module at the Rojas Property
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                      1            79.        Delamination destroys the safe and effective functionality of the solar panel

                      2     because it allows air and moisture to creep inside of the panel in between the layers of the

                      3     components of the solar panels. It is undisputed among the solar industry experts that solar

                      4     panels must remain hermetically sealed to properly function. The symptoms of delamination in

                      5     the Bosch Solar panels are bubbles and cracks on the backsheet.

                      6            80.        Ultimately, the delamination is due to weakening chemical adhesion of the layers

                      7     of the panel which degrade the capacity of the cell to produce electricity.

                      8            81.        Delamination is obvious to solar panel experts but Plaintiffs and average

                      9     consumers are not aware how to identify delamination or of its significance.

                   10              82.        Delamination is a condition that is continuous and progressive. Over time,

                   11       delamination and the associated bubbling and cracking of the backsheet become larger and more

                   12       propagated on the Bosch Solar panels. The delamination cannot be arrested or repaired. The

                   13       power production of the Bosch Solar panel will decrease in direct correlation to the increasing

                   14       delamination. This condition will inevitably cause corrosion, degradation of power, safety risks

                   15       and imminent failure. The consequences of delamination are undisputed among experts in the

                   16       solar industry.

                   17              83.        The delamination failures are systemic throughout Plaintiffs’ solar system and are

                   18       caused by a common and universal defect in the Bosch Solar panels. An inspection of Plaintiffs’

                   19       property on Wednesday, December 19, 2018 revealed that approximately 30 of Plaintiffs’ 42

                   20       panels have experienced delamination and cracking in the backsheet.

                   21              84.        All of the Bosch Solar NA30119 Panels have either experienced delamination

                   22       failure or will experience delamination failure before the end of their useful life. The

                   23       delamination has caused or will cause the panels to perform under the minimum requirements

                   24       within their useful and warranted life.

                   25              B.         Safety Risk and Fire Hazard of Delamination
                   26              85.        Delamination causes serious safety and fire hazards. Delamination causes

                   27       moisture, water and air to come in contact with the wires that conduct electricity. When moisture

                   28       enters the panel from the edges of the module, it causes electrical hazards. Delamination can
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                      1     cause the electric current to leak to the frame.

                      2            86.     Leaking electric current to the frame can be significant enough to “energize” the

                      3     frame and cause it to conduct electricity. In this event, there is a shock hazard and imminent risk

                      4     of electrocution to anyone who comes in contact with the solar panel.

                      5            87.     If the back side of the panel delaminates, bare wires conducting electricity are

                      6     exposed to the elements and are a dangerous safety risk. These panels must be inspected by

                      7     experts, not Class Members.

                      8            C.      Arc Fault Failure
                      9            88.     In addition, delamination can cause the electric current to “arc”. This condition is

                   10       known as an “arc fault failure”. Arc fault failures can generate temperatures in excess of 2000° -

                   11       3000°F.

                   12              89.     An “arc fault” is a high power discharge of electricity between two or more

                   13       conductors. This discharge translates into heat and can trigger an electrical fire. A common

                   14       cause of arc faults includes faulty connections due to corrosion. Delamination is known to cause

                   15       corrosion in the electrical circuitry of solar panels. Corrosion causes gaps or breaks in the

                   16       electrical circuitry. Arc faults occur when the electrical current jumps the gap in the circuitry

                   17       conductors. Because of the delamination on Plaintiffs’ and Class Member’s panels, the

                   18       conductors have been corroded and damaged and create an imminent safety risk and fire hazard to

                   19       roofing materials on roof-mounted arrays.

                   20              90.     Furthermore, because dry cellulose materials such as grass, leaves, weeds and

                   21       twigs are often in contact with or in close proximity with the surface of solar panels, this

                   22       inevitably and commonly creates a serious risk of fire and must be eliminated. This condition

                   23       also creates a serious safety risk to anyone near the panel. Bosch Solar has failed to warn end

                   24       users of the serious and dangerous risks.

                   25              D.      Failure To Adequately Test Before Sale

                   26              91.     This systemic delamination and poor solder joints are a result of, among other

                   27       things, Bosch’s failure to adequately test its solar panels for long-term performance.

                   28              92.     Bosch Solar has universally represented and warranted that its panels will produce
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                      1     a minimum of 80% of the maximum output power stated in its specification for 25 years.

                      2            93.     This representation is without adequate technical support because it was never

                      3     based upon a testing sample that would justify and support its unfounded power output promises.

                      4     In the absence of that promise, Plaintiffs and the Class, would never have purchased the panels.

                      5     VII.   THE UNCONSCIOUNABILITY OF THE WARRANTY CLAIM VERIFICATION
                                   AND PROCEDURE
                      6

                      7            94.     The Warranty Appendix consists of a list of covered Bosch Solar Crystalline

                      8     Series Modules Series Modules as set forth in paragraph 3.5 of the Warranty.

                      9            95.     The Bosch Solar Warranty Claim Verification and Procedure which applies to all

                   10       modules listed in the Warranty Appendix is procedurally and substantively unconscionable.

                   11              96.     The exclusions, and Warranty Claim Verification and Procedure in the Bosch

                   12       Solar warranty were not bargained. The Bosch Solar Express Warranty is a contract of adhesion.

                   13              97.     The terms and conditions required by Bosch Solar to submit and perfect a claim

                   14       that the performance of the module no longer meets the minimum performance warranted by

                   15       Bosch Solar are oppressive.

                   16              98.     The Warranty Claim Verification and Procedure is incomprehensible to any

                   17       consumer and requires the expertise of a solar engineer to understand and implement.

                   18              99.     No part of the warranty explains what the consumer has to undertake in order to

                   19       submit a warranty claim that the module no longer meets the minimum performance.

                   20              100.    Bosch Solar reserves the right to verify the claim that the performance of the

                   21       module no longer meets the minimum performance. In doing so Bosch Solar states the following:

                   22                      “Bosch Solar Energy Corp. or is authorized representative(s) reserve the
                                           right to verify the claim that the performance of the module no longer
                   23                      meets the minimum performance warrantee under the performance
                                           warranty.”
                   24

                   25                      “Module performance shall be measured by Bosch Solar Energy Corp.
                                           Under standard test conditions (25° C cell temperature, irradiation 1000
                   26                      W/m2 and spectrum AM 1.5). Output will be measured in each case at the
                                           ends of the pre-assembled connector on the rear of the module.”
                   27

                   28
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                      1             101.      Initially, the above language states that if a consumer makes a claim that the

                      2     performance of the module no longer meets the minimum performance warranty, Bosch Solar

                      3     reserves the right to test the panels “under standard test conditions…” In other words, if a claim

                      4     is made Bosch Solar may perform tests on the panels “under standard tests conditions.”

                      5             102.      Then Bosch Solar employs language that reverses the burden of the cost and

                      6     responsibility for performing the “standard test conditions” on the modules to the consumer.

                      7             103.      The warranty states:

                      8                       “The consumer is responsible for maintaining the standard test
                                              conditions while producing evidence that the performance has fallen
                      9                       below the guaranteed minimum performance.”
                   10               104.      By this language, Bosch Solar is requiring the consumer, who makes a claim that

                   11       the module no longer meets minimum performance, to test the modules to “standard test

                   12       conditions.”

                   13               105.      Nowhere in the Bosch Solar warranty does Bosch Solar explain how the “standard

                   14       test conditions” are to be performed or what steps the consumer would have to undertake in order

                   15       to test panels.

                   16               106.      When the warranty refers to “standard test conditions” the only modifying

                   17       language is as follows:

                   18               “(25C cell temperature, irradiation 1000 W/M2 and spectrum AM 1.5).”

                   19               107.      This language in the first instance is fundamentally ambiguous. In addition, the

                   20       language is highly technical in nature and is incomprehensible to anyone other than a solar expert.

                   21               108.      In fact, it is impossible for even an expert to maintain “standard test conditions”

                   22       while testing the output performance of the modules, unless the modules are tested in a certified

                   23       and accredited laboratory capable of performing the test in a controlled laboratory environment.

                   24               109.      The consumer cannot perform the requirements of the “standard test conditions”

                   25       unless the panels are: 1) removed from their property; 2) packaged to manufacturers

                   26       specifications to avoid damage; 3) shipped to an accredited laboratory; 4) tested with the

                   27       oversight of a solar engineer expert; 5) repackaged; and 6) shipped back to the end users property

                   28       and reinstalled by qualified experts.
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                      1            110.     The Warranty is silent to the question of how and when Bosch Solar would test the

                      2     panels should it exercise its “reserved” right to do so.

                      3            111.     The “standard test conditions” can only be found in:

                      4
                                            1)     IEC 60904–1, photovoltaic devices – part 1: Measurement of
                      5                            photovoltaic current and voltage characteristics. IEC stands for
                                                   International ElectroTechnical Commission, and
                      6
                                            2)     ASTM E927-10 Standard Specification for Solar Simulation for
                      7                            Photovoltaic Testing. The American Society for Testing and
                      8                            Materials (ASTM).

                      9            112.     These standards articulate the guidelines for how to conduct performance tests to

                   10       the “standard test conditions” required by the Warranty. These standards were not mentioned in

                   11       the Warranty.

                   12              113.     The standard test conditions are designed to test the performance of PV modules

                   13       and specifies a cell temperature of 25° C and irradiance of 1000 W/M2 with an air mass of 1.5

                   14       (AM1.5) spectrum. These correspond to the irradiance and spectrum of sunlight incident on a

                   15       clear day upon a sun-facing 37°- tilted surface with the sun at an angle of 41.81° above the

                   16       horizon.

                   17              114.     This condition approximately represents solar noon near the spring and autumn

                   18       equinox in the continental United States with the surface of the cell aimed directly at the sun.

                   19       However, these conditions are rarely encountered in the real world. STC-based performance

                   20       measurements are applied in what is commonly referred to as solar flash testing which

                   21       manufacturers conduct in a laboratory controlled environment during the manufacturing process.

                   22              115.     Under STC conditions, the cells are maintained at 77°F (25° C).

                   23              116.     The normal operating cell temperature which is typically found in a solar array is

                   24       113°F (45° C). PV modules in the field operate over a wide range of temperatures, irradiance,

                   25       and spectrum. It is therefore impossible to conduct testing as required by the Bosch Solar

                   26       warranty at the site of the installation. All such testing, by definition, is required by the standard,

                   27       and in turn the Bosch Solar Warranty, to be performed in the laboratory under a scientifically

                   28       controlled environment and with highly sophisticated equipment.
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                      1              117.   Maintaining “standard test conditions” is impossible on the site of any solar array,

                      2     and is only achievable in a laboratory environment.

                      3              118.   To adhere to the “standard test conditions,” the consumer would be required to

                      4     have the expertise of knowing what laboratory would have the necessary equipment in order to

                      5     perform the tests.

                      6              119.   The appliance used for measuring the output performance conformity of a solar

                      7     PV module is called a flash test machine or solar simulator.

                      8              120.   During a flash test the PV module is exposed to a short (1 MS 230 MS), bright

                      9     (100 mW per sq. cm) flash of light from a xenon filled arc lamp. The output spectrum of this

                   10       lamp is as close to the spectrum of the sun as possible. The output is collected by a computer and

                   11       the data is compared to an exactly calibrated reference solar module.

                   12                121.   The reference data is geared to the power output calibrated to standard solar

                   13       irradiation. The results of the flash test are compared to the manufacturer’s specifications.

                   14                122.   In short, in order to perform testing to these standard test conditions, a laboratory

                   15       is required to have a solar simulator, a $75,000.00 - $100,000.00 price of equipment, a reference

                   16       PV module and a computer for collecting data. Ultimately the test compares the data from the

                   17       reference PV module to the data from the newly manufactured modules.

                   18                123.   It is impossible for a consumer to understand the complexity of the standard test

                   19       conditions which the Bosch Solar warranty mandates adherence to in order to verify a warranty

                   20       claim that the performance of the module no longer met the minimum performance warranted by

                   21       Bosch.

                   22                124.   It is not feasible or reasonable for a consumer or solar contractor to acquire the

                   23       equipment or knowledge to perform the task as required under the standard test conditions.

                   24                125.   The total cost of testing Plaintiffs’ array can range from $15,000.00 to $30,000.00

                   25       and may exceed the cost of purchasing and installing the Bosch Solar array or a new array

                   26       altogether.

                   27                126.   No consumer could have understood that the Bosch Solar warranty, should they

                   28       assert a claim for performance degradation, would require the consumer to spend an amount that
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                      1     could approach the entire value of the array.

                      2             127.   The Bosch Solar “standard testing conditions” are impossible to adhere to in order

                      3     to pursue a performance claim under the Bosch Solar warranty.

                      4             128.   Bosch‘s attempt to allocate the cost and burden of proving a warranty claim to the

                      5     end-user or final customer has no social or principled purpose other than to secretly shift the risk

                      6     of the failures of the panels back to the consumer, notwithstanding Bosch’s 25-year performance

                      7     warranty, the fundamental reason for purchasing the panels.

                      8             129.   The impact of the “standard testing conditions” warranty provision is unreasonably

                      9     one sided.

                   10               130.   The Bosch Solar warranty reallocates the risk of the bargain in an objectively

                   11       unreasonable and completely unexpected manner. This is true because the cost of asserting a

                   12       warranty claim exceeds the value of the remedy. Moreover, Bosch Solar has erected other

                   13       artificial barriers to impede the consumer’s ability to assert a claim, such as the 90-day notice

                   14       clause; Bosch Solar can assert that provision to avoid payment of a claim and most consumers

                   15       will be unaware that such a notice clause is enforceable only if Bosch Solar is prejudiced by the

                   16       late notice.

                   17               131.   The hidden extraordinary costs of proving a warranty claim surprised and shocked

                   18       Plaintiffs in that their Bosch Solar system is only five years old and has failed. Plaintiffs have

                   19       made inquiries about the requirements of the Warranty Claim Procedure and the requirement of

                   20       testing their panels to “standard test conditions.” The cost of doing so is so expensive that it

                   21       would likely be more than the cost of replacing their entire Bosch Solar array. The remedies of

                   22       the Bosch Solar Limited Warranty fail of their essential purpose. The system also presents fire

                   23       and safety risks which Bosch Solar has publicly admitted. Plaintiffs should not be forced to run

                   24       for their lives—as Bosch Solar callously suggests—if their system catches fire.

                   25               132.   When Plaintiffs’ Bosch Solar array was first installed, they had virtually no

                   26       electric bills. In the year 2017, their electric bill jumped to nearly $3,000.00. The bill for 2017

                   27       was received in April, 2018 and Plaintiffs were therefore unaware of an increase in their 2017

                   28       electricity bill until April, 2018. Even with the increased bill Plaintiffs are unaware of the cause
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                      1
                            of the decreased power production without the advice of an expert which Bosch Solar refuses to
                      2
                            provide. See also paragraphs 203 to 208 regarding estoppel to assert statute of limitations. In
                      3
                            2017 alone, Plaintiffs have lost approximately $200.00-$250.00 a month because of the breaches
                      4
                            of warranty. Because the panels are defective, and since Bosch Solar has refused to repair or
                      5
                            replace the panels, Plaintiffs have incurred higher electrical bills than they otherwise would have
                      6
                            with functioning panels. Plaintiffs will continue to incur higher electrical bills unless and until
                      7
                            Bosch Solar repairs or replaces the solar panels.
                      8
                                   133.      Plaintiffs relied on the representations of Sullivan regarding the reliability,
                      9
                            durability and terms of the long-term warranty of Bosch Solar which was held out as a reputable
                   10
                            and trustworthy company and would not have otherwise entered into the transaction.
                   11
                                   134.      The unconscionability of the warranty extends to all of the purported limitations
                   12
                            and exclusions including, but not limited to 1) the “standard test conditions” provision; 2) the
                   13
                            limitations of liability to the purchase price; 3) the refusal to pay consequential damages; 4) the
                   14
                            refusal to pay for loss of use; 5) the refusal to pay punitive damages even in the case of fraud; and
                   15
                            6) the purported 90-day notice period. .
                   16
                                   135.      Given the complexity of the terms of the Bosch Solar warranty and Bosch’s failure
                   17
                            to direct its customers’ attention to the limitations of the warranty and the warranty claim
                   18
                            procedure, the burden is on Bosch Solar to show that the consumers who purchased its panels had
                   19
                            knowledge of the highly unusual and unconscionable terms contained in the warranty.
                   20
                                   136.      Plaintiffs and the class request that the court find as a matter of law that all the
                   21
                            Disclaimers/Limitations of liability and the Warranty Claim Procedure are unconscionable.
                   22
                            Plaintiffs, and the class, request that the Court enforce the 10-year product warranty and the 25-
                   23
                            year performance warranty but sever the limitations of liability and Warranty Claim Verification
                   24
                            and Procedure.
                   25
                                   137.      Further evidence that the Bosch Solar limitations in the warranty are procedurally
                   26
                            and substantively unconscionable are the final three provisions of the warranty. First of all, the
                   27
                            warranty asserts at paragraph 3.3 that if the testing performed by the consumer demonstrates that
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                      1     the modules meet the minimum performance warranted, that Bosch Solar “shall be entitled to

                      2     reimbursement of the cost of conducting such tasks from the party submitting the warranty

                      3     claim.” How and when such tests would be accomplished is never mentioned in the Warranty.

                      4            138.    Because testing modules to the standard test conditions is extraordinarily

                      5     expensive, for a consumer to be billed by Bosch Solar for the cost of Bosch’s test after having

                      6     already incurred the extreme expense of performing their own test is additional evidence of

                      7     unconscionability.

                      8            139.    Notwithstanding the requirement of the standard test conditions that the panels be

                      9     removed from the installation and tested in a laboratory environment, the Bosch Solar warranty

                   10       states at paragraph 2.1 under “Disclaimers/Liability Limitations” that if diminished performance

                   11       is caused by “removal and/or reinstallation of modules (not in compliance with current

                   12       installation manual)” then Bosch Solar would have no responsibility to perform under the

                   13       warranty - again an unconscionable limitation because to maintain the standard test conditions,

                   14       the panels have to be removed and reinstalled which would allow Bosch Solar to invoke this

                   15       limitation and deny any warranty claim.

                   16              140.    Bosch Solar then attempts to enforce an unconscionably short notice provision.

                   17       Paragraph 3.4 states:

                   18                      “Claims submitted under these warranties must be submitted within
                                           three (3) months of the occurrence of an event placing the Consumer
                   19                      on notice that a claim under one of the warranties has or may have
                                           arisen. The burden of showing compliance with this time limitation
                   20                      lies with the Consumer. Claims not submitted within this period will
                   21                      not be considered.”

                   22              141.    Given the complexity, cost and impossibility of adhering to the “standard test

                   23       conditions” a 90-day notice period is unconscionable.

                   24              142.    Nonetheless, Plaintiffs serendipitously complied with the 90 days of their learning
                   25       that their ground-mounted panels were potentially defective. Moreover, even if Bosch Solar were
                   26       to contend the 90-day period had not been met, such a provision is only enforceable in the event
                   27       of prejudice, and there is no basis on which Bosch Solar could claim prejudice here.
                   28              143.    Lastly, Bosch Solar asserts that the warranty shall be governed by the laws of the
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                      1     State of Michigan and that “conflict of laws rules shall not apply,” again, unenforceable and

                      2     unconscionable provisions.

                      3     VIII. SULLIVAN WAS BOSCH’S AGENT
                      4             144.     At all times relevant herein, end-users of the solar panels relied on installers of

                      5     solar panels to advise them concerning the advantages of purchasing solar panels generally and of

                      6     the unique benefits of products produced by particular manufacturers, such as Bosch.

                      7     Accordingly, Bosch Solar knew that if it wanted end-users to select Bosch Solar panels it had first

                      8     to convince installers that they should recommend Bosch Solar panels rather than solar panels

                      9     manufactured by others.

                   10               145.     The Bosch Solar distributors sold the panels to solar contractors. In most instances, as

                   11       here, only the solar contractors had direct contract with the end-users of the panels, namely the individuals

                   12       or entities that paid the contractors for the cost of the panels and the cost of installation. The Bosch Solar

                   13       business model required that installers make representations on behalf of Bosch Solar regarding the Bosch

                   14       Solar Warranty and quality of the modules.

                   15               146.     Bosch’s marketing plan for the solar panels relied almost exclusively on installers

                   16       like Sullivan to promote its products and recommend the Solar Panels to end-users as they did

                   17       with Plaintiffs. Bosch Solar authorized and expected installers to make representations to

                   18       potential Bosch Solar customers regarding the durability and economic benefits of its solar panels

                   19       and that they would satisfactorily perform for 25 years and that end-users would have warranty

                   20       protection for 25 years as set forth below.

                   21               147.     According to representations made by Bosch Solar to the Consumer Product

                   22       Safety Commission pursuant to its recall, the subject Bosch Solar panels “were sold exclusively

                   23       to dealers/installers[.]” Bosch Solar proposed to send recall notices via “dealer letters” to its

                   24       dealers rather than to the public or end users as part of its recall “notice” program.

                   25               148.     Per documents submitted by Bosch Solar to the CPSC in the recall, Sullivan
                   26       Electric was the second largest authorized dealer of the Bosch Solar Model #c-Si M 60 NA30119
                   27       panels in California (narrowly behind the largest Bosch Solar dealer). Sullivan purchased and
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                      1     installed the NA30119 Bosch Solar panels for many homes. According to documents filed by

                      2     Bosch Solar with the CPSC, Sullivan purchased and installed nearly 1,000 of said panels for roof

                      3     top installations alone. As the second largest Bosch Solar dealer in California, Sullivan was

                      4     knowledgeable and had significant expertise about the features of the Bosch Solar panels, and

                      5     specifically general terms of the warranty that covered the panels.

                      6            149.    Sullivan is a substantial solar contractor in California with multiple offices.
                      7     Sullivan Solar Electric have been licensed by the State of California to install solar systems for
                      8     many years. In recent years, Sullivan has installed over 8,000 solar systems, primarily on
                      9     residential properties much like Plaintiffs’ property.
                   10
                                   150.    Sullivan installed Plaintiffs’ Bosch Solar system.
                   11
                                   151.    Because Bosch Solar sold its panels “exclusively to dealers/installers,” and not
                   12
                            directly to end users, Bosch Solar relied on Sullivan and its other dealers/installers to sell the
                   13
                            panels to consumers and to relay the general terms of its warranty to the consumers.
                   14

                   15              152.    Sullivan was in fact an authorized dealer and preferred vendor of the Bosch Solar

                   16       NA 30119 panels.

                   17              153.    The only means by which Bosch Solar communicated information about its
                   18       NA30119 panels to Plaintiffs was through Sullivan Electric.
                   19
                                   154.    Bosch, intentionally or by want of ordinary care, caused or allowed Plaintiffs to
                   20
                            believe that Sullivan possessed the authority to represent to Plaintiffs the terms of the written
                   21
                            warranty herein.
                   22
                                   155.    Bosch Solar knew that Sullivan was an important California dealer of its panels
                   23
                            and authorized Sullivan to sell its panels and educate consumers and end users about the terms of
                   24
                            the warranty in order to sell its product.
                   25

                   26       IX.    PLAINTIFFS’ INDIVIDUAL ALLEGATIONS

                   27              A.      Rojas Facts
                                   156.    For many years, Plaintiffs Steve R. Rojas and Andrea N. Rojas had been interested
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                      1     in solar power as a way to reduce their electric bills and to save money.

                      2             157.    Mr. Rojas learned of Sullivan Electric in an article in the local newspaper, The

                      3     Press Enterprise. Rojas contacted Sullivan Electric to inquire about purchasing a solar power

                      4     system.

                      5             158.    During October 2012, Mr. Rojas made arrangements with Sullivan Electric come

                      6     to his home, inspect the property and discuss how a solar array could be purchased and installed.

                      7     On October 23, 2012 Hans Berg, an employee of Sullivan Electric, met Plaintiff Steve Rojas at

                      8     his residence. Mr. Berg was a salesman and solar engineer for Sullivan and was knowledgeable

                      9     about Bosch Solar NA30119 panels. Mr. Berg spent approximately two hours with Plaintiffs at

                   10       their home.

                   11               159.    Mr. Berg conducted an inspection of the Rojas premises and property. He also

                   12       examined prior electrical bills of the Rojas’s to determine what size of solar array would be

                   13       necessary to eliminate or substantially reduce the Rojas’s electrical bill. Mr. Berg informed Mr.

                   14       Rojas that he would gather the necessary information and design a ground-mounted solar system

                   15       and call him back with a quote for the cost of the system.

                   16               160.    On October 28, 2012, five days after meeting with Plaintiffs, Mr. Berg called Mr.

                   17       Rojas to discuss the information and data he had put together for a ground-mounted array to be

                   18       installed on the Rojas property and convey the terms of the warranty

                   19               161.    During the October 28, 2012 telephone conversation, Mr. Berg advised Mr. Rojas

                   20       that the “best deal” would be to enter into a “prepaid lease.” At that time Mr. Berg informed Mr.

                   21       Rojas that they would be installing Bosch Solar panels. Mr. Berg had considerable solar expertise

                   22       and was very knowledgeable about the Bosch Solar panels recommended to Plaintiffs.

                   23               162.    There were no choices or alternatives regarding what panels Sullivan was going to

                   24       install on the property. Plaintiffs were simply informed that Bosch Solar panels would be used

                   25       for their solar array.

                   26               163.    On October 28, 2012, Mr. Berg advised Mr. Rojas that the Bosch Solar panels

                   27       were of the “highest quality” and a “premium” product. Mr. Rojas was familiar with the Bosch

                   28       Solar name as a manufacturer of tools and appliances. At the time Mr. Rojas held the Bosch
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                      1     Solar name and reputation in high regard and did not consider asking for a different model brand.

                      2            164.    During the October 28, 2012 phone call, Mr. Berg told Mr. Rojas that the panels

                      3     would be backed by a Bosch Solar warranty and explained the essential terms of the warranty.

                      4     Mr. Berg said the panels were guaranteed to be “free from defects.”

                      5            165.    Mr. Berg also said that the panels would lose approximately 1% of their power

                      6     output capacity each year but they were guaranteed to produce 90% of the promised power for the

                      7     first 10 years and then 80% for the duration of the warranty.

                      8            166.    Mr. Berg also told Mr. Rojas that if anything went wrong with the panels that

                      9     Bosch Solar would repair or replace the panels. For Mr. Rojas, the assurance of a Bosch Solar

                   10       warranty was critical to his decision to continue with the transaction.

                   11              167.    In fact, Mr. Berg’s assurances made to Plaintiffs regarding the substance of the

                   12       Bosch Solar Limited Warranty were accurate and precisely mirrored the written language of the

                   13       Bosch Solar Express Limited Warranty.

                   14              B.      The Warranty Was Not Delivered

                   15              168.    Mr. Berg did not deliver a copy of the Bosch Solar Limited Warranty to Plaintiffs.

                   16              169.    The Bosch Solar Express Warranty was never delivered to Plaintiffs Steve R.

                   17       Rojas and Andrea N. Rojas. Plaintiffs allege, on information and belief that Bosch Solar did not

                   18       deliver written warranties to the Plaintiff Class and had no system in place to ensure reliable

                   19       delivery of the warranty.

                   20              170.    Plaintiffs have never had access to the applicable Bosch Solar Express Warranty,

                   21       in effect at the time of their purchase of the Bosch Solar panels, until this lawsuit was initiated,

                   22       when Plaintiffs’ counsel obtained a copy of what is believed to be the warranty applicable to the

                   23       c-Si M 60 NA30119 modules. Bosch’s intent to provide a warranty as part of the basis of the

                   24       bargin is shown by the warranty itself, which lists the series of panels intended to be covered by

                   25       the warranty. The warranty provides:

                   26                      “Bosch Solar Energy Corp. provides a product warranty and a
                                           performance warranty for its photo-voltaic modules (hereinafter
                   27                      "Module" or "Modules") listed is the Appendix.

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                      1

                      2     In turn, the Appendix provides:
                                           Warranty Appendix: List of Covered Bosch Solar Crystalline Series Modules
                      3
                                           c-Si M 60 -16
                      4
                                           c-Si M 60 NA30117
                      5                    c-Si M 60 NA42117
                      6                    c-Si M 60 NA44117
                      7                    c-Si M 60 NA30119
                                           c-Si P 72 NA21126
                      8
                            (emphasis added)
                      9
                                   C.      There Was No Market Alternative For Plaintiff
                   10
                                   171.    Bosch’s written warranty is a standardized, pre-printed form drafted by Bosch. No
                   11
                            negotiation occurred between Bosch Solar and Plaintiffs regarding the contents of the written
                   12
                            warranty. Bosch Solar does not negotiate the contents of the written warranty with installers,
                   13
                            consumers or end users.
                   14
                                   172.    Plaintiffs were first-time consumers and users of solar energy and had no
                   15
                            knowledge or expertise in the solar energy industry. Due to Bosch’s failure to provide a copy of
                   16
                            the written warranty, the limitations and unconscionable terms were unknown to Plaintiffs until
                   17
                            long after their purchase. The terms relating to the standard test conditions were not seen by
                   18
                            Plaintiffs. Even if they had, the conditions are not explained in the written warranty in plain
                   19
                            language that the average consumer could understand.
                   20
                                   173.    Plaintiffs were unaware of any need to investigate market alternatives because they
                   21
                            were unaware of the unconscionable warranty claim procedure and other unconscionable terms.
                   22
                                   174.    Plaintiffs did not have any opportunity to review or reject the unconscionable
                   23
                            terms in the written warranty. As a result, Plaintiffs were surprised, shocked and humiliated once
                   24
                            they actually saw the terms of the written warranty, and never had an opportunity to reject the
                   25
                            solar panels. As a result, Plaintiffs had no reasonably available sources of supply from which to
                   26
                            obtain their solar panels free of the unconscionable terms and did not have any reason or
                   27
                            incentive to seek out market alternatives because Plaintiffs were unaware of the existence of the
                   28
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                      1     unconscionable terms. Even if the consumer were able to review the warranty before purchase,

                      2     however, the true meaning and onerous effect of the STC provision would not be readily apparent

                      3     or understood by any consumer.

                      4            175.    Plaintiffs did not become aware of the existence of the unconscionable terms until

                      5     after this case was filed. Removing the panels to avoid the unconscionable terms was not

                      6     possible as their solar panels were installed and connected to the electrical grid for over five

                      7     years. For example, as part of the recall process, Bosch Solar wrote a letter to the Consumer

                      8     Product Safety Commission stating “the complexity of the task” as follows:

                      9                    [[R]eplacing solar panels] is very different from that involving, say,
                                           toasters, in which a replacement product may simply be shipped to the
                   10
                                           customer; an entire system, connected to the electric grid, has to be
                   11                      replaced.

                   12              176.    The assertion of the market alternative defense to the claim of unconscionability
                   13       presupposes that the claimant saw the warranty terms and could reject the product before installed
                   14       or return the product after installed. Neither condition existed in Plaintiffs’ case. Plaintiffs had
                   15       not seen the warranty before installation, and removal of the panels after installing was
                   16       unrealistic, impractical, if not impossible.
                   17              177.    Plaintiffs were informed by Sullivan that Bosch Solar panels were to be installed
                   18       on their property and no market alternatives were known to Plaintiffs or suggested to Plaintiffs by
                   19       Sullivan. Hans Berg told Steve Rojas that “We will be installing ‘Bosch’ panels on your roof.”
                   20       Plaintiffs effectively had no choice but to accept from Sullivan the Bosch Solar panels Sullivan
                   21       informed Plaintiffs that it would be installing on their property.
                   22              D.      Plaintiffs Provided Notice of Their Warranty Claim to Bosch Solar
                   23              178.    After Plaintiff Steve Rojas became aware of the Bosch’s recall, Mr. Rojas
                   24       contacted Sullivan Electric in mid-September 2017, to inquire whether Sullivan was aware of the
                   25       recall. He spoke with Scott Barber, Quality Control Technician, and was advised by Mr. Barber
                   26       that Sullivan was unaware of the Bosch Solar recall.
                   27              179.    On September 25, 2017, Scott Barber advised Mr. Rojas that he had been in
                   28       contact with Spruce Financial, sometimes referred to as Kilowatt, who initially sold the power to
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                      1     Mr. Rojas. At that time, Spruce Financial was also unaware of the Bosch Solar recall. Mr.

                      2     Barber indicated that he would research the question of whether Mr. Rojas’s panels were part of

                      3     the recall.

                      4             180.   On September 26, 2017, Mr. Barber was informed by Sharonda Grimes at Spruce

                      5     Financial that they were researching whether Mr. Rojas’s panels were registered for the recall.

                      6             181.   Based upon their communications with Sullivan and Spruce, Plaintiffs understand

                      7     that Sullivan and Spruce were in communication with Bosch Solar on Plaintiffs’ behalf regarding

                      8     Plaintiffs’ desire to have their panels replaced. Over the course of October 2017, neither Mr.

                      9     Barber nor Ms. Grimes provided Mr. Rojas of any developments with regard to their contact with

                   10       Bosch Solar regarding Mr. Rojas’s panels.

                   11               182.   Concerned about the delays, Mr. Rojas researched the Bosch Solar website and

                   12       located a phone number for the recall advice. On November 1, 2017, Mr. Rojas contacted Bosch

                   13       Solar by telephone.

                   14               183.   Mr. Rojas immediately informed Bosch Solar that his panels were ground-

                   15       mounted and not part of the recall. Bosch Solar verbally confirmed that his panels were not

                   16       included in the recall. He explained that although his panels were ground-mounted, he believed

                   17       they were the same as the roof mounted panels and that and according to the recall, the panels

                   18       were defective and a fire hazard. Mr. Rojas also advised Bosch Solar that the power output of the

                   19       panels was variable and seemed to be underperforming. Mr. Rojas told Bosch Solar that he was

                   20       making a claim and that he wanted all of his panels replaced.

                   21               184.   Fully aware that Mr. Rojas’s ground-mounted panels were excluded from the

                   22       recall, Bosch Solar then informed Mr. Rojas that they would process his claim. Bosch Solar

                   23       instructed Mr. Rojas to send photographs to confirm the model number and that his claim would

                   24       be processed. On the same date, November 1, 2017, Bosch Solar emailed Mr. Rojas a form letter

                   25       requesting: 1) copy of Invoice or Bill of Sale from Original Installer; 2) Telephoto pictures of

                   26       your photovoltaic system, one per roof where modules are mounted. Mr. Rojas provided Bosch

                   27       Solar with the requested photographs and information.

                   28               185.   Immediately after receiving Bosch’s request for proof of ownership, Mr. Rojas
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                      1     contacted Sullivan asking for the Bill of Sale or the Interconnector Agreement. Mr. Barber

                      2     informed Mr. Rojas that he would search his records and forward a copy to Mr. Rojas and Bosch.

                      3            186.   On the same day, November 1, 2017, Mr. Rojas took a photo of his ground-

                      4     mounted Bosch Solar array and a photo of the label on the backside of the panel which confirmed

                      5     that the panels were the NA30119 model and emailed the photos to Bosch.

                      6     Mr. Rojas’s November 1, 2017 email is inserted below.

                      7
                            From: Steve Rojas <srrojas@aol.com>
                      8     Date: November 1, 2017 at 1:36:16 PM PDT
                            To: Bosch Solar Replacement Service <boschsolar.services@us.bosch.com>
                      9     Subject: Re: Bosch Solar Module Replacement Program
                   10

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                      1            187.    On November 3, 2017 Mr. Rojas received a letter from Bosch Solar confirming

                      2     that it would replace his array. This letter followed his conversation with Bosch Solar that his

                      3     ground-mounted array was not part of the recalled panels confirmed by the photographs he

                      4     provided to Bosch. The November 3, 2017 Bosch Solar correspondence is attached as Exhibit B.

                      5            188.    The November 3, 2017 Bosch Solar form letter incorrectly refers to Mr. Rojas’s

                      6     array as being “roof mounted.”

                      7            189.    Upon seeing that misstatement, Mr. Rojas immediately called Bosch Solar and

                      8     explained that the letter incorrectly referred to it as “roof mounted.” He was told by the Bosch

                      9     Solar representative to ignore the reference to roof mounted, that Bosch Solar was aware his array

                   10       was ground-mounted and not part of the recall, that the letter was a form letter. He was informed

                   11       by Bosch Solar that his claim had been approved and that his entire array would be replaced.

                   12              190.    Bosch Solar never amended its recall filings to include ground-mounted panels.

                   13              191.    The Bosch Solar November 3, 2017 letter also informed Mr. Rojas that he would

                   14       be contacted by a Bosch Solar approved installer to replace his panels.

                   15              192.    On November 28, 2017, Mr. Rojas spoke with Thom Brodie of Baker Electric

                   16       Solar, the Bosch Solar approved solar installer. Mr. Brodie informed Mr. Rojas that it would be

                   17       Sullivan Electric, his original installer, that would inspect and replace his system.

                   18              193.    Unbeknownst to Plaintiffs, Plaintiffs now suspect that a dispute arose between

                   19       Sullivan and Bosch. Bosch Solar was apparently trying to force Sullivan, the original installer of

                   20       the Rojas’s system, to replace the system instead of Bosch. This legal maneuvering apparently

                   21       lead to an additional six months delay without activity. During that time, Mr. Rojas contacted

                   22       Baker Electric for an explanation. He was informed that Baker Electric, as Bosch’s

                   23       representative, had tried without success, to have Sullivan to replace his system.

                   24              194.    Finally, on May 31, 2018, seven months after Bosch Solar agreed to replace the

                   25       Rojas’s system, Thom Brodie of Baker Electric emailed Mr. Rojas expressing his appreciation for

                   26       Mr. Rojas’s “patience,” scheduled a survey of his property for June 6, 2018 and enclosed a

                   27       “Baker-Bosch Solar Construction Contract for Sullivan Customers,” for the full replacement of

                   28       the Rojas’s panels. A copy of Mr. Brodie’s email is attached as Exhibit C. A copy of the
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                      1     “Baker-Bosch” contract is attached as Exhibit D. The contract makes no mention of the recall

                      2     and is a separate agreement wherein Bosch Solar hired Baker to replace the defective panels on

                      3     the Rojases’ property.

                      4            195.    The May 31, 2018 letter set June 6, 2018 as an inspection date to survey the Rojas

                      5     property. On June 6, 2018 survey was conducted by Baker Electric.

                      6            196.    Baker Electric observed that the panels were ground-mounted (as Rojas had

                      7     already advised Bosch) and Baker Electric informed Mr. Rojas that at least 10 of his panels were

                      8     not functioning. Prior to this inspection, Plaintiffs had no information regarding why their panels

                      9     seemed to be underperforming. Mr. Rojas signed the contract to replace all of the Bosch Solar

                   10       panels and emailed the executed copy to Baker on June 6, 2018. Weeks passed.

                   11              197.    Four months passed with no progress. Mr. Rojas complained to Baker Electric

                   12       that they had broken their agreement to replace his panels.

                   13              198.    Then on August 31, 2018 Bosch Solar advised Plaintiffs by email that the panels

                   14       were owned by a third party and that their qualified installer would contact them about replacing

                   15       the modules as soon as “practicable.” Another month passed with no progress.

                   16              199.    Finally, ten months after Bosch Solar agreed to accept the Rojas’s claim to replace

                   17       his ground-mounted system, with Bosch Solar having reneged on its promise to replace the

                   18       Rojas’s system, Mr. Rojas sent Bosch Solar his September 24, 2018 CLRA Notice and Breach of

                   19       Warranty Notice and filed suit.

                   20              200.    Plaintiffs have complied with the contractual notice provisions of the Bosch Solar

                   21       Limited Warranty as alleged above. In the alternative, Bosch Solar has waived any such technical

                   22       non-compliance. Bosch Solar knew of defects in this model of panel generally and received

                   23       actual notice that Plaintiffs' panels in particular were defective and underperforming. Bosch Solar

                   24       received actual notice that the transaction with Plaintiffs was troublesome and that Plaintiffs

                   25       wished to have their panels replaced. Plaintiffs communicated with Bosch Solar directly and

                   26       indirectly regarding the replacement of the panels for approximately one year between

                   27       September, 2017 and August 31, 2018. During this one year, Plaintiffs provided to Bosch Solar

                   28       all documents and information requested by Bosch. At times, including in early November 2017,
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                      1     Bosch Solar promised to replace the panels, but ultimately failed to keep its promise. On August

                      2     31, 2018, after nearly a year, Bosch Solar advised Plaintiffs that it would not be replacing the

                      3     panels for an indefinite period of time. At that time, Bosch Solar provided no indication of when

                      4     the panels might be replaced. Bosch Solar had approximately a one year period in which it had

                      5     an opportunity to cure and failed to avail itself of the opportunity to cure.

                      6            201.    Kilowatt, and other companies that purchase the Panels and enter into Prepaid

                      7     Power Purchase agreements with end-users also understand the warranties alleged herein to form

                      8     part of the basis of the bargain, and rely upon the existence of the warranty, in entering such

                      9     contracts with end-users, so that the continued supply of power, as provided by the Prepaid Power

                   10       Purchase agreement, can be maintained, and so that defective or underperforming panels may be

                   11       replaced.

                   12              202.    Although Plaintiffs paid nearly $3,000.00 for electricity in 2017, that information

                   13       was not made available to Plaintiffs until March, 2018 because Southern Edison bills on an

                   14       annual basis for properties which contain solar arrays.

                   15       X.     STATUTE OF LIMITATIONS ISSUES
                   16              A.      The Latent Defects Are Not Discoverable by the Consumer
                   17              203.    The Bosch Solar Express Warranty explicitly extends to future performance of the

                   18       Bosch Solar panels. Pursuant to Cal. Com. Code § 2725(1), the cause of action accrues when the

                   19       breach is or should have been discovered.

                   20              204.    The defects in the Bosch Solar panels are latent and not discoverable until the final

                   21       customer or end-user becomes aware of a defect or substantial reduction in power. Even when

                   22       there is a degradation in power output, substantial time will pass between the failure or loss of

                   23       power and discovery thereof. When customers have made inquiries or warranty claims to Bosch,

                   24       Bosch Solar intentionally withheld information about the cause of the panel failure and loss of

                   25       power from Plaintiffs and class members and the fire and safety risks associated therewith. In

                   26       order to assert a warranty claim, Bosch Solar requires end users to prove their warranty claim on

                   27       a panel by panel basis. The failure of a given panel does not inform the end user that other panels

                   28       have failed. In fact, the process of assessing and proving performance reduction is so complex
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                      1     that it is far beyond the knowledge and comprehension of the end users of Bosch Solar panels.

                      2     In this context, end-users rarely have awareness of whether they have a claim; whether it relates

                      3     to one or more panels or some other part of their solar system and how to go about researching a

                      4     potential problem. This is particularly true because Bosch Solar refuses to assist with the

                      5     investigation of legitimate warranty claims, leaving the consumer to fend for themselves

                      6     regarding highly technical and potentially dangerous equipment.

                      7               205.   The defect does not become apparent until a sufficient number of Bosch Solar

                      8     panels have had a degradation of power or failed, resulting in a loss of power and significant

                      9     increase in utility bills. Even when such failures occur, it is difficult for members of the Class to

                   10       determine the actual cause of the failure or if one or more panels caused the power loss. In

                   11       addition, as with Plaintiffs further delays in discovery result from the fact that electricity bills are

                   12       often sent out annually when solar systems are in place. Accordingly, Plaintiffs did not and

                   13       members of the Class do not become aware of the potential claims or breaches of warranty

                   14       alleged herein until the defects in the Bosch Solar panels become manifest and the property owner

                   15       does sufficient investigation and becomes educated about complex electrical issues necessitating

                   16       solar expert advice in order to identify the source and scope of the problem. No statute of

                   17       limitation has run as against Plaintiffs.

                   18                 206.   For the reasons addressed above, Bosch Solar was under a continuous duty to

                   19       disclose to distributors, sellers, installers and end-users, including Plaintiffs and the Class, the

                   20       defect, the safety issues related thereto, and the existence of numerous returns of product related

                   21       to the defect.

                   22                 207.   Despite this duty and the Notice of Product Recall, Bosch Solar has not

                   23       implemented an adequate notice program to inform end-users of the defect. The Bosch Solar

                   24       Recall Notice is misleading and inaccurate and fails in substantial part to notify end users of the

                   25       defect.

                   26                 208.   As a result, members of the Class are unable to assert claims against Bosch Solar

                   27       until they became aware of the failure of the Bosch Solar Panels and its cause. Accordingly,

                   28       Bosch Solar is estopped to rely on any statutes of limitation in defense of this action.
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                      1
                                    The recall notice was not posted by Bosch Solar until April 13, 2017. The recall purports not to
                      2
                            include Plaintiffs’ panels because they are ground-mounted. Plaintiffs did not learn of the recall until
                      3
                            several months after the notice of the recall was published. Plaintiffs did not learn that virtually all of their
                      4
                            c-Si M 60 NA30119 Panels suffer from a backsheet delamination defect until so advised by a solar
                      5
                            engineer on or about December 19, 2018.
                      6
                                    B.       Plaintiffs Are the Beneficiaries of the Bosch Solar Limited Warranty
                      7

                      8             209.     Plaintiffs’ ground-mounted Bosch Solar array remains in its originally installed
                      9     location at Plaintiffs’ residence located at 29294 Juniper Avenue, Moreno Valley, California. The
                   10       array was installed by Sullivan on or about March, 2013 and has “not been modified or relocated
                   11       from their originally installed location.”
                   12               210.     Plaintiffs have always been the “end-users” of the Bosch Solar panels. The panels
                   13       were installed on Plaintiffs’ property as required by a “Prepaid Solar Power Agreement” dated
                   14       October 28, 2012 with which Plaintiffs entered with Kilowatt.
                   15               211.     On October 18, 2018, for valuable consideration, Kilowatt transferred all rights,
                   16       title and interests that it had in the Bosch Solar array installed on Plaintiffs’ property to Plaintiffs.
                   17               212.     In addition to being the original end-users of the Bosch Solar array, Plaintiffs are
                   18       the subsequent buyers and owners of the 42 c-Si M 60 NA30119 Panels originally installed on
                   19       their residential property in 2013.
                   20               213.     Plaintiffs were always the intended beneficiaries of the Bosch Solar Express
                   21       Warranty whether as end-user or third-party beneficiaries, and, following their purchase of the
                   22       panels, as subsequent buyers.
                   23               214.     Defendant Bosch Solar issued the warranty and extended the warranty to Plaintiffs
                   24       and the class.
                   25               215.     The holding of Bristol-Myers Squibb Co. v. Superior Court of California, 137 S.
                   26       Ct. 1773 (2017) does not apply in the class action context. Among others, the California Federal
                   27       District Court case of In Re Morning Song Bird Food Litigation, No. 12CV01592, 2018 WL
                   28       1382746, at *5 (S.D. CA March 19, 2018), provides that “claims of unnamed class members are
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                      1     irrelevant to the question of specific jurisdiction” and that the court “declines to extend the

                      2     holding of Bristol-Myers to this case involving a class action.”

                      3     XI.      CLASS ALLEGATIONS
                      4              216.   The Class which Plaintiffs seek to represent is as follows.

                      5                     All persons or entities in the United States who are the current owners of
                                            Bosch c-Si M 60 NA30119 solar modules or the current owners of
                      6                     premises on which Bosch c-Si M 60 NA30119 solar modules are
                                            installed.
                      7
                                     217.   Plaintiffs reserve the right to modify or amend the Class definition, as appropriate.
                      8
                                     218.   Among other things, individual and representative Plaintiffs bring this lawsuit as a
                      9
                            class action, on behalf of themselves and all others similarly situated, in part, pursuant to CCP §
                   10
                            382.
                   11
                                     219.   Under CCP § 382 a class action is proper where the Class is ascertainable, there is
                   12
                            a well-defined community of interest among class members, the question is one of a common or
                   13
                            general interest or the parties are numerous and it is impracticable to bring them all before the
                   14
                            court.
                   15
                                     220.   Certification of Plaintiffs’ claims for class-wide treatment is appropriate because
                   16
                            Plaintiffs can prove the elements of their claims on a class-wide basis and because this case meets
                   17
                            the requirements of and CCP § 382.
                   18
                                     221.   Numerosity. The members of the Class are so numerous that individual joinder of
                   19
                            all the members is impracticable. Plaintiffs are informed and believe, and thereon allege, that
                   20
                            there are at least thousands of purchasers who have been damaged by the conduct alleged herein.
                   21
                                     222.   Commonality and Predominance. This action involves common questions of
                   22
                            law and fact which predominate over any questions affecting individual class members including,
                   23
                            without limitation, the following:
                   24
                                            a.     Whether Defendant Bosch Solar violated California’s Unfair
                   25
                                                   Competition Law, Bus. & Prof. Code § 17200 et seq., by, among
                   26
                                                   other things, engaging in unfair, unlawful, or fraudulent practices;
                   27
                                            b.     Whether Defendant Bosch Solar violated California’s Consumer
                   28
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                      1                             Legal Remedies Act, Civ. Code §1750 et seq., by falsely

                      2                             advertising the Solar Panels were of a certain quality when in fact,

                      3                             they were not;

                      4                      c.     Whether Defendant Bosch Solar breached its express warranties to

                      5                             Plaintiffs and the Class;

                      6                      d.     Whether Plaintiffs and the Class are entitled to compensatory

                      7                             damages, and the amount of such damages;

                      8                      e.     Whether Defendants should be declared financially responsible for

                      9                             the costs and expenses of removal and replacement of all solar

                   10                               panels as well as compensation for the lost energy generation

                   11                               capacity of the solar panels;

                   12                        f.     Whether the Bosch Solar Limited Warranty failed of its essential

                   13                               purpose; and

                   14                        g.     Whether the Disclaimers and Liability Limitations are

                   15                               unconscionable and should be severed from the Limited Warranty.

                   16              223.      Typicality. Plaintiffs’ claims are typical of the claims of the Class because

                   17       Plaintiffs, like all members of the Class, have been damaged by Defendants’ unlawful conduct, in

                   18       that Plaintiffs will incur the cost of removing and replacing the defective Bosch Solar Panels, and

                   19       have and will incur the increased costs of electricity resulting from the loss of electricity

                   20       generation during the period between the failures and replacement. The factual basis and causes

                   21       of action for Plaintiffs’ claims are common to all members of the Class and represent a common

                   22       course of misconduct resulting in injury to all Class members.

                   23              224.      Adequacy of Representation. Plaintiffs are an adequate representative of the

                   24       Class because their interests do not conflict with the interests of the Class and they have retained

                   25       counsel competent and experienced in complex class action litigation and who specialize in class

                   26       actions involving defective construction products. Plaintiffs intend to prosecute this action

                   27       vigorously and the interests of the Class will be fairly and adequately protected by Plaintiffs and

                   28       their counsel.
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                      1            225.    Superiority. A class action is superior to all other available means for the fair and

                      2     efficient adjudication of this controversy in that:

                      3                    a.      The prosecution of separate actions by individual members of the

                      4                            Class would create a foreseeable risk of inconsistent or varying

                      5                            adjudications which would establish incompatible results and

                      6                            standards for Defendants;

                      7                    b.      Adjudications with respect to individual members of the Class

                      8                            would, as a practical matter, be dispositive of the interests of the

                      9                            other members not parties to the individual adjudications or would

                   10                              substantially impair or impede their ability to protect their own

                   11                              separate interests;

                   12                      c.      Class action treatment avoids the waste and duplication inherent in

                   13                              potentially thousands of individual actions, and conserves the

                   14                              resources of the courts; and

                   15                      d.      The claims of individual class members are not large when

                   16                              compared to the cost required to litigate such claims. The

                   17                              individual Class members’ claims are on average approximately

                   18                              Twenty-Five Thousand Dollars ($25,000.00). Given the high cost

                   19                              of litigation, it would be impracticable for the members of the

                   20                              Class to seek individual redress for Defendant’s wrongful conduct.

                   21                              The class action device provides the benefits of single

                   22                              adjudication, economies of scale, and comprehensive supervision

                   23                              by a single court. The case presents no significant management

                   24                              difficulties which outweigh these benefits.

                   25                      e.      Furthermore, the Bosch Solar Recall Notice plan is entirely

                   26                              inadequate and underfunded. It therefore failed of its essential

                   27                              purpose to locate the defective panels. Then, after the Bosch Solar

                   28                              Recall Notice was sent out, Bosch Solar failed to put in place a
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                      1                            replacement program that would reasonably implement the recall.

                      2                            As a result, the recall was a sham and neither located, inspected or

                      3                            replaced the defective and dangerous panels which were the

                      4                            subject and purpose of the recall.

                      5                    f.      The Bosch Solar Recall Notice, at the minimum defines a class of

                      6                            end users and end users of at least 28,000 defective Bosch Solar

                      7                            panels. The class action procedure is necessary to assert the claims

                      8                            that are the basis of the recall in that the recall class was never

                      9                            provided adequate notice of the recall and the recall remedy of

                   10                              replacing the panels was never implemented.

                   11       XII.   DAMAGE
                   12              226.    As a result of the facts alleged herein, Plaintiffs and the Class have been damaged

                   13       in an amount equal to the cost to remove and replace their solar systems and the difference in

                   14       value between the solar panels had they been as represented by Bosch Solar and the value of the

                   15       Bosch Solar panels as actually delivered by Bosch. In addition, Plaintiffs and the Class have been

                   16       or will be compelled to incur cost and expense to, inter alia, investigate the reasons for the failure

                   17       of their Bosch Solar panels, remove and replace the Bosch Solar panels, and pay increased

                   18       electricity costs resulting from the loss of electricity generated by the Bosch Solar panels. These

                   19       amounts include sums necessary to repair damage to the roof which occurs because the mounts

                   20       for the Bosch Solar panels must be removed, as well as the cost of building permits and the cost

                   21       to replace the inverters for the solar system.

                   22
                                                        FIRST CLAIM FOR RELIEF
                   23                                 (For Breach of Express Warranty)
                   24                 (Common Law of Arizona, California, Hawaii, Missouri, North Carolina)
                                   227.    Plaintiffs incorporate by reference each allegation set forth in the preceding
                   25
                            paragraphs.
                   26

                   27              228.    Plaintiffs are direct beneficiaries to the Bosch Solar Express Warranty in that by its

                   28       express terms, the warranty is extended to “final customers or end-users” of the solar panels. The
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                      1     warranty drafted by Bosch Solar does not condition warranty benefits on the purported purchase

                      2     of the solar panels nor on purported ownership of the panels. Plaintiffs are final customers and

                      3     end-users of the solar panels in that the acquisition of the solar panels was initiated by Plaintiffs.

                      4             229.      Plaintiffs paid in full, up front, to facilitate the transaction, the solar panels were

                      5     originally intended to be and were installed on Plaintiffs’ property and Plaintiffs were intended to

                      6     consume and did consume the power generated by the solar panels.

                      7             230.      In the alternative, if Plaintiffs are construed not to be the direct beneficiaries of the

                      8     Bosch Solar Express Warranty, then Plaintiffs are intended third party beneficiaries of the Bosch

                      9     Solar Express Warranty. The intent to benefit Plaintiffs appears from the face of the warranty,

                   10       which indicates that it benefits “consumers”, “final customers”, “end-users” and “subsequent

                   11       buyers”. Plaintiffs are consumers, final customers, end-users and subsequent buyers. Nothing in

                   12       the warranty conditions benefits on being an “owner” or “purchaser” of the panels.

                   13               231.      The Bosch Solar Express Warranty was drafted solely by Bosch Solar and

                   14       ambiguity in its terms, if any, are to be construed against Bosch.

                   15               232.      The warranty was made expressly for the benefit of persons, like Plaintiffs, who

                   16       (a) initiated the transaction; (b) made the choice to go forward with the installation; (c) paid the

                   17       purchase price in full upfront; (d) allowed the panels to be installed on their property; (e) actually

                   18       consume the power produced; (f) suffer the loss when the panels do not produce the promised

                   19       power; and (g) face the safety risk when defective panels are unsafe.

                   20               233.      The benefit to persons like Plaintiffs is a motivating factor for the existence of the

                   21       warranty because the warranty entices Plaintiffs to enter into these substantial financial

                   22       transactions and without persons like Plaintiffs deciding to install solar panels on their property,

                   23       there is no transaction at all.

                   24               234.      Plaintiffs are a member of a class that is specifically referred to in the warranty

                   25       (i.e., consumers, final customers, end-users and/or subsequent buyers) and are identifiable.

                   26       Bosch Solar extends the warranty knowing that its solar panels will be used by homeowners with

                   27       whom it does not have a direct relationship and the warranty is not intended for the benefit of

                   28       intermediaries.
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                      1            235.    As relevant, Plaintiffs refer to the specific factual allegations supporting each

                      2     element of the claim alleged herein.

                      3            236.    Bosch Solar made the written express warranties described herein. Those

                      4     warranties were part of the basis of the bargain, and the purchasers relied upon such warranties.

                      5            237.    Bosch Solar is not entitled to enforce the Warranty Disclaimers and Liability

                      6     Limitations described herein because they are unconscionable and violate the provisions of

                      7     applicable law. This includes, but is not limited to, the purported requirement that warranty

                      8     claimants are required to incur extraordinary costs for expert testing in order to submit a warranty

                      9     claim and that warranty claimants will be liable to Bosch Solar for Bosch’s testing expenses if

                   10       Bosch Solar determines that, in its view, the warranty claim was without merit. This violates the

                   11       Magnuson-Moss Warranty Act in that pursuant to 15 U.S.C. § 2304(b)(l), a warrantor is

                   12       prohibited from imposing any duty on a consumer as a condition of securing a remedy other than

                   13       a duty of notification and is unconscionable.

                   14              238.    On November 1, 2017 Plaintiffs provided direct notice to Bosch Solar of its

                   15       warranty claims for both the product and performance warranties.

                   16              239.    Bosch Solar has breached the Product Warranty because the panels have solder

                   17       joint and delamination defects, as alleged above. Bosch Solar has admitted that the solder joint

                   18       defect causes a fire hazard and safety risk. The delamination defect also causes a fire and safety

                   19       risk. The defects adversely affect the function of the panels and expose Plaintiffs to an admitted

                   20       fire hazard, which creates the risk of potentially catastrophic and/or deadly fire.

                   21              240.    Bosch Solar has breached the Performance Warranty because Plaintiffs have

                   22       experienced a degradation of power below the output promised by Bosch. Bosch Solar has

                   23       further breached the Performance Warranty because implicit in the power output promise is that

                   24       such power output will be generated safely.

                   25              241.    Bosch Solar has admitted that the panels present a fire hazard and Plaintiffs cannot

                   26       be reasonably expected to face the risk of a potentially catastrophic and/or deadly fire in the

                   27       course of generating the promised power output.

                   28
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                      1             242.    Because the Bosch Solar panels either have failed or are certain to fail within their

                      2     expected useful life, Bosch Solar has breached both the Product Warranty and the Performance

                      3     Warranties contained in the Warranty.

                      4             243.    Bosch Solar has failed to remedy the breach of the Warranty for either Plaintiffs or

                      5     the Classes. Bosch Solar had ample opportunity to cure after Plaintiffs provided notice of their

                      6     claim. Plaintiffs’ defective and unsafe NA30119 solar panels remain installed on Plaintiffs’

                      7     property after Bosch Solar reneged on its promise to replace Plaintiffs’ panels thereby breaching

                      8     the warranty.

                      9             244.    Although Plaintiffs do not believe that notice to Bosch Solar of its warranty claim

                   10       and breaches of warranty are required under applicable law, Plaintiffs have notified Bosch Solar

                   11       of its breaches of the warranty. As set forth in detail in paragraphs 178 to 200, Plaintiffs notified

                   12       Bosch Solar directly of its claim within 90 days of learning that their ground-mounted panels

                   13       suffered on November 1, 2017 from a defect. Bosch Solar was given ample opportunity to cure

                   14       the defect and, in fact, agreed to do so.

                   15               245.    On August 31, 2018, ten months after Plaintiffs patiently waited for Bosch Solar to

                   16       cure the defect, Bosch Solar reneged on its promise to replace Plaintiffs’ solar array and Plaintiffs

                   17       filed suit.

                   18               246.    The Limited Warranty does not require Plaintiffs to file a lawsuit within 90 days,

                   19       rather a claim purportedly should be submitted within 90 days of some set of undefined events

                   20       that would ostensibly place Plaintiffs on notice of a potential claim.

                   21               247.    Plaintiffs have complied with the 90-day notice provisions. Plaintiffs provided

                   22       Bosch Solar with timely notice of its warranty claim within 90 days of being made aware of the

                   23       defect through the recall. Until Bosch Solar disclosed the defect in its recall, Plaintiffs had no

                   24       knowledge that the panels suffered from a defect.

                   25               248.    In addition, the purported 90-day notice provision should be excused for all class

                   26       members, including Plaintiffs, as Bosch Solar did not deliver the warranty to consumers, end

                   27       users or subsequent owners. Plaintiff and class members who have no knowledge of the 90-day

                   28       claim provision cannot be held to compliance to an unreasonably short claim deadline about
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                      1     which they have no knowledge. Moreover, conditions such as the notice condition are not

                      2     enforceable in the absence of prejudice.

                      3            249.    Approximately a year passed from when Plaintiffs contacted Bosch Solar and the

                      4     filing of this litigation. During this time, Bosch Solar has had further opportunity to cure the

                      5     defects and has not availed itself of the opportunity. Although Bosch Solar made promises to

                      6     replace the panels, Bosch Solar did not keep its promises Further delay in replacing the unsafe

                      7     and underperforming panels would be unreasonable and dangerous.

                      8            250.    Furthermore, Bosch Solar is estopped from asserting the 90-day claim notice

                      9     provision as it withheld information of the defect from consumers, end users and subsequent

                   10       owners and failed to provide any reasonably notice of the defect that would inform or notify a

                   11       person of any obligation to assert a claim.

                   12              251.    Further notice to Bosch Solar of its breach of the Warranty would be futile because

                   13       Bosch Solar is aware of and has acknowledged the defects in the Bosch Solar panels and has

                   14       recalled the Bosch Solar panels. The only remedy to Plaintiffs and the Class is the replacement of

                   15       all Bosch Solar panels with other suitable panels and to compensate Plaintiffs and the Class for

                   16       the difference between the power output guaranteed by the Performance Warranty and the power

                   17       output actually received as well as all consequential damages including labor and disposal.

                   18              252.    As set forth above, the purported exclusions and limitations in the warranty are

                   19       contrary to the reasonable expectations of the consumer, and also are unconscionable. Therefore,

                   20       the Court should sever such exclusions and limitations from the warranty as unenforceable and

                   21       enforce the remainder of the Warranty.

                   22              253.    Furthermore, the limited warranty remedies have failed their essential purpose

                   23       because the contractual remedy as interpreted by Bosch Solar is insufficient to make Plaintiffs or

                   24       Class members whole and because Bosch Solar has failed and/or has refused to adequately

                   25       provide sufficient remedies within a reasonable time. Accordingly, Plaintiffs and Class members

                   26       should not be limited in their remedies and seek all remedies allowed by law.

                   27

                   28
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                      1            254.    As a result of Bosch’s breach of the warranty and the warranties detailed herein,

                      2     Plaintiffs and the Class have suffered damages as alleged herein and in an amount to be proven at

                      3     trial including all consequential damages according to proof.

                      4                                   SECOND CLAIM FOR RELIEF
                                            (Breach of Express Warranty - Magnuson-Moss Warranty Act)
                      5

                      6            255.    Plaintiffs incorporate by reference each allegation set forth in the preceding

                      7     paragraphs.

                      8            256.    The allegations of this Claim for Relief are based on the breaches of warranty

                      9     addressed fully in the First Claim for Relief. The specific allegations of the Complaint relevant to

                   10       that claim are detailed therein.

                   11              257.    The Bosch Solar panels are a consumer product as defined in 15 U.S.C. § 2301(1).

                   12              258.    Plaintiffs and the members of the Consumer Subclasses are consumers as defined

                   13       in 15 U.S.C. § 2301(3).

                   14              259.    Bosch Solar is a supplier and warrantor as defined in 15 U.S.C. § 2301(4) and (5).

                   15              260.    The Warranty contains “written warranties” within the meaning of 15 U.S.C. §

                   16       2301(6).

                   17              261.    As alleged previously, Bosch Solar has breached the Warranty.

                   18              262.    Additionally, pursuant to 15 U.S.C. § 2304(d)(1), Bosch Solar may not assess

                   19       Plaintiffs or the Consumer Subclasses any costs the warrantor or his representatives incur in

                   20       connection with the required remedy of a warranted product…” [I]f any incidental expenses are

                   21       incurred because the remedy is not made within a reasonable time or because the warrantor

                   22       imposed an unreasonable duty upon the consumer as a condition of securing remedy, then the

                   23       consumer shall be entitled to recover reasonable incidental expenses which are so incurred in any

                   24       action against the warrantor.” Bosch Solar has refused to pay all costs associated with the

                   25       inspection, diagnosis of power output defect, removal and replacement of the Bosch Solar panels.

                   26              263.    Plaintiffs have provided Bosch Solar with notice of breach of the Warranty and a

                   27       reasonable opportunity to cure the breach. In addition, the Notice that Plaintiff afforded Bosch

                   28       Solar on September 24, 2018 on behalf of the Consumer Subclasses of its breach of the Warranty
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                      1     provided Bosch Solar with a reasonable opportunity to remedy the breach as to ground-mounted

                      2     end users. This is true because to provide Bosch Solar with a longer time to cure would be futile

                      3     as Bosch Solar had no intention of replacing ground-mounted panels and publicly so stated in its

                      4     recall notice. Bosch Solar has failed to remedy the breach of its obligations to the Class or

                      5     Subclasses under the Warranty.

                      6            264.    In addition, further notice to Bosch Solar of its breach of the Warranty would be

                      7     futile because Bosch Solar is aware of and has acknowledged the defects in the Bosch Solar

                      8     panels and has recalled the Bosch Solar panels.

                      9            265.    Bosch Solar cannot provide to Plaintiffs and the Consumer Subclasses any remedy

                   10       other than replacement of the Bosch Solar panels with other panels and to compensate Plaintiffs

                   11       and the Class for the difference between the power output guaranteed by the Performance

                   12       Warranty and the power output actually received.

                   13              266.    As a result of Bosch’s breach of the Warranty, Plaintiffs and the Consumer

                   14       Subclasses have been damaged in an amount to be proven at trial, including consequential

                   15       damages.

                   16              267.    Bosch Solar has violated the Magnuson-Moss Warranty Act in that pursuant to 15

                   17       U.S.C. § 2304(b)(l), in that a warrantor is prohibited from imposing any duty on a consumer as a

                   18       condition of securing a remedy other than a duty of notification and is unconscionable.

                   19                                      THIRD CLAIM FOR RELIEF
                                                            (Breach of Express Warranty)
                   20
                                                 (Ariz. Rev. Stat. § 47-2313; Cal. Com. Code § 2313;
                   21                           Haw. Rev. Stat. § 490:2-313; Mo. Rev. Stat. § 400.2-313;
                                                              N.C. Gen. Stat. § 25-2-313)
                   22

                   23              268.    Plaintiffs incorporate by reference each allegation set forth in the preceding

                   24       paragraphs.

                   25              269.    The allegations of this Claim for Relief are based on the breaches of warranty

                   26       addressed herein above. The specific allegations of the Complaint relevant to that claim are

                   27       detailed therein.

                   28
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                      1            270.    Bosch Solar was at all times relevant hereto a “merchant” with respect to solar

                      2     panels, as that term is defined under the Uniform Commercial Code as adopted in Arizona,

                      3     California, Hawaii, Missouri, or North Carolina, see, e.g., California Commercial Code § 2104.

                      4            271.    An express warranty by affirmation was created by Bosch Solar in favor of

                      5     Plaintiff by Hans Berg of Sullivan who made assurances to Plaintiffs as an end user of the product

                      6     the terms of the warranty.

                      7            272.    During the October 28, 2012 phone call, Mr. Berg told Mr. Rojas that the panels

                      8     would be backed by a Bosch Solar warranty and explained the essential terms of the warranty.

                      9     Mr. Berg said the panels were guaranteed to be “free from defects.”

                   10              273.    Mr. Berg also said that the panels would lose approximately 1% of their power

                   11       output capacity each year but they were guaranteed to produce 90% of the promised power for the

                   12       first 10 years and then 80% for the duration of the warranty.

                   13              274.    Mr. Berg also told Mr. Rojas that if anything went wrong with the panels that

                   14       Bosch Solar would repair or replace the panels. For Mr. Rojas, the assurance of a Bosch Solar

                   15       warranty was critical to his decision to continue with the transaction.

                   16              275.    For the reasons alleged hereinabove, Plaintiffs are direct beneficiaries of the Bosch

                   17       Solar Express Warranty as end users. In the alternative, Plaintiffs are intended third party

                   18       beneficiaries. Also, Plaintiffs are beneficiaries of the Bosch Solar Express Warranty by virtue of

                   19       being successor end users of the Bosch Solar panels.

                   20              276.    Bosch Solar is not entitled to enforce the Warranty Exclusions described above

                   21       because they are unenforceable under the Uniform Commercial Code as adopted in Arizona,

                   22       California, Hawaii, Missouri, or North Carolina, see, e.g., the California Commercial Code §

                   23       2719, and for the reasons set forth hereinabove.

                   24              277.    As alleged previously, in paragraphs 178 to 200, Plaintiff gave notice to Bosch

                   25       Solar of its warranty claim; Bosch Solar had ample opportunity to cure the breach, promised to do

                   26       so, the reneged on its promise thus breaching the warranty.

                   27              278.    Plaintiffs have provided Bosch Solar with notice of breach of the Warranty and a

                   28       reasonable opportunity to cure the breach. Bosch Solar has been given notice on behalf of the
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                      1     Class of its breach of the Warranty and a reasonable opportunity to remedy the breach. Bosch

                      2     Solar has failed to remedy the breach of warranty for Plaintiffs or the classes as defined herein.

                      3            279.    As a result of Bosch’s breach of the Warranty, Plaintiffs and the Classes have been

                      4     damaged in an amount to be proven at trial, including consequential damages.

                      5            280.    Plaintiffs relied on the representations of Sullivan regarding the reliability,
                      6     durability and terms of the long-term warranty of Bosch Solar which was held out as a reputable
                      7     and trustworthy company and would not have otherwise entered into the transaction.
                      8
                                                           FOURTH CLAIM FOR RELIEF
                      9                         (For Violation of California’s Unfair Competition Law)

                   10
                                   281.    Plaintiffs incorporate by reference each allegation set forth in the preceding
                   11
                            paragraphs.
                   12
                                   282.    Pursuant to Bus. & Prof. Code § 17200, “unfair competition shall mean and
                   13
                            include any unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue or
                   14
                            misleading advertising.”
                   15
                                   283.    Bosch’s actions, as alleged herein, constitute deceptive, unfair, fraudulent, and
                   16
                            unlawful practices committed in violation of the Bus. & Prof. Code § 17200, et seq.
                   17
                                   284.    All of the conduct and representations alleged herein occurred in the course of
                   18
                            Bosch’s business and were part of a pattern or generalized course of conduct.
                   19
                                   285.    Bosch’s conduct was unlawful in that it systematically included an unlawful
                   20
                            provision in its standardized warranty. Specifically, Bosch Solar includes in its Warranty Claims
                   21
                            Procedure a requirement that warranty claimants to incur substantial expense for expert testing in
                   22
                            order to submit a warranty claim and also provides that if, in Bosch’s view, the warranty claim
                   23
                            was without merit, the warranty claimant will be liable to Bosch Solar for Bosch’s own testing
                   24
                            expenses.
                   25
                                   286.    Bosch’s conduct was unfair in that it systematically included an unlawful
                   26
                            provision in its standard form warranty, as alleged above. Also, Bosch Solar crafted its warranty
                   27
                            language to give the appearance of warranty coverage when, in fact, the warranty would fail to
                   28
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                      1     provide any meaningful coverage because the cost of invoking coverage equals or exceeds the

                      2     value of the solar system and the cost to replace it. Consumers are unable to recover this expense

                      3     even if their claims are shown to be meritorious. Moreover, Bosch Solar fails to disclose this

                      4     hidden expense in plain language that the reasonable consumer can understand. Thus, the

                      5     reasonable consumer is deceived by the warranty coverage being provided by Bosch. Also,

                      6     Bosch Solar fails to disclose with sufficient specificity, the testing procedures that consumers

                      7     would be required to comply with or the cost thereof. Bosch’s failure to disclose the meaning of

                      8     the Standard Test Conditions was intentional. The omissions were fraudulent and were they to

                      9     have been disclosed, no one would have purchased Bosch Solar panels.

                   10              287.    As a result of Bosch’s unfair methods of competition and unfair or deceptive acts

                   11       or practices, Plaintiffs and members of the Original Purchaser Subclass have suffered injury-in-

                   12       fact, lost money, and lost property, in that they have incurred labor costs, inspection costs and

                   13       energy loss associated with the faulty solar system resulting in increased electric bills.

                   14              288.    As alleged hereinabove in paragraphs 94 through 143, Section VII The

                   15       Unconscionability of the Warranty claim verification and procedure, Bosch Solar has fraudulently

                   16       and unfairly imposed the obligation on end-users and owners of its panels, who seek to make a

                   17       performance warranty claim, to maintain “the standard test conditions while producing evidence

                   18       that the performance has fallen below the guaranteed minimum performance.”

                   19              289.    On December 19, 2018, a consultant hired by Plaintiffs’ counsel, serving as

                   20       Plaintiffs’ agent, conducted an investigation of Plaintiffs’ Bosch Solar rray. Among other things,

                   21       the consultant attempted to gather evidence regarding the power output performance of Plaintiffs’

                   22       Bosch Solar panels.

                   23              290.    It was determined that it was not possible for an owner or end-user to maintain

                   24       “the standard test conditions while producing evidence that the performance has fallen below the

                   25       guaranteed minimum performance.” Plaintiffs’ consultant made use of a sophisticated piece of

                   26       portable equipment known as I-V curve. However, that equipment cannot maintain the standard

                   27       test conditions while performing power output testing. Standard test conditions can only be

                   28       maintained under laboratory conditions as outlined in paragraphs 103 through 122.
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                      1             291.   The insertion of the unconscionable Standard Test Conditions in the Bosch Solar

                      2     Limited Warranty has caused and will cause concrete harm to Plaintiffs. Due to the presence of

                      3     these terms and in order to evaluate and test Plaintiffs’ solar array, Plaintiffs’ counsel paid the

                      4     consultant $5,927.55. This testing was done in an attempt to satisfy the conditions of the

                      5     warranty, which specify that the consumer has the burden of maintaining “the standard test

                      6     conditions while producing evidence that the performance has fallen below the guaranteed

                      7     minimum performance.” Plaintiffs have a contingent liability to reimburse the $5,927.55, if

                      8     Plaintiffs and the class prevail in this matter. The obligation will be paid from settlement or

                      9     judgment proceeds by Plaintiffs and/or Class members should this matter be resolved. This

                   10       obligation constitutes injury-in-fact caused by the unconscionable warranty terms requiring

                   11       claimants to submit testing data. The obligation incurred is not hypothetical or based on

                   12       conjecture.

                   13               292.   The presence of the unconscionable STC terms in the Bosch Solar Limited

                   14       Warranty has an immediate, detrimental and concrete impact on the value of Plaintiff’s property.

                   15       Although Bosch Solar has suggested a non-binding forbearance of the unconscionable terms, said

                   16       terms remain in the Bosch Solar Limited Warranty and could be invoked by Bosch Solar at any

                   17       time.

                   18               293.   The present value of Plaintiffs’ property depends, in part, on the presence and

                   19       proper function of the solar panels and the efficacy of the available warranty benefits. At present,

                   20       the value of the warranty benefits is contingent upon Bosch Solar voluntary and non-binding

                   21       calculation to forego enforcement of express warranty terms which, if enforced, would cost the

                   22       consumer as much or more than the value of the entire solar energy system.

                   23               294.   Homebuyers would refuse to purchase, or would require a steep discount to

                   24       purchase, Plaintiffs’ property which is saddled with defective panels that constitute an admitted

                   25       fire risk while Bosch Solar retains the right to invoke a clause requiring such homebuyers to

                   26       expend as much as the panels are worth. Moreover, the Bosch Solar Limited Warranty includes

                   27       the right of Bosch Solar to recover costs against any such homebuyers.

                   28
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                      1              295.   The adverse impact that the unconscionable provisions have on home property

                      2     values distinguishes the present situation from unenforced unconscionable provisions in credit

                      3     card agreements. This uncertainty has an immediate reduction on the value of the Rojases’

                      4     property and constitute injury-in-fact.

                      5              296.   A dispute existed and still exists between Plaintiffs and Bosch Solar because

                      6     Plaintiffs' Bosch Solar panels were and are underperforming. The panels admittedly present a fire

                      7     and safety risk. Bosch Solar has indicated in their Motion to Dismiss that the panels do not

                      8     qualify for replacement under the recall. Bosch Solar has indicated that Plaintiffs allegedly do

                      9     not have a warranty claim because Plaintiffs have not presented “any facts indicating that their

                   10       panels do not or have not provided 80% of the minimum performance set forth in the data sheet

                   11       for NA30119 Panels, as warranted under the Performance Warranty.” [Bosch Solar Motion to

                   12       Dismiss First Amended Complaint, p. 15, lines 11-13].

                   13                297.   In other words, despite arguments of convenience, Plaintiffs’ failure to obtain and

                   14       submit their own testing data in accordance with the Standard Test Conditions as a justification

                   15       for failing to address Plaintiffs’ defective, underperforming panels. During the time that Bosch

                   16       Solar has failed to cure the defects because of Plaintiffs’ alleged failure to submit testing data,

                   17       Plaintiff have been further damaged by continued loss of power as a result of the unconscionable

                   18       terms.

                   19                298.   The terms of the Limited Warranty require claimants to submit "proof that...the

                   20       performance of the Module no longer meets the minimum performance" and states that "[t]he

                   21       Consumer is responsible for maintaining the standard test conditions while producing evidence

                   22       that the performance has fallen below the guaranteed minimum performance." As a direct result

                   23       of the foregoing terms, in an effort to assess testing options and obtain testing data to support a

                   24       power loss claim, Plaintiff Steven Rojas met with a solar consultant at the subject property for

                   25       inspection and testing. Mr. Rojas missed approximately five hours of work in order to

                   26       accommodate this inspection and testing. Mr. Rojas is paid $105 per hour for his work and lost

                   27       approximately $525 as a result of Bosch’s requirement that claimant’s submit testing data. The

                   28       loss of earnings by the Rojas household due to Mr. Rojas attempting to obtain testing data is
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                      1     injury-in-fact caused by the unconscionable terms requiring Plaintiffs to submit testing data. The

                      2     loss of earnings is not hypothetical or based on conjecture.

                      3             299.     Plaintiffs seek injunctive relief to compel Bosch Solar to notify the Plaintiff class

                      4     of the defect and to reasonably implement the replacement of the defective Bosch Solar panels as

                      5     promised in the recall.

                      6             300.     Additionally, by threatening to enforce and actually enforcing the Warranty

                      7     Disclaimers/Liability Limitations and the Warranty Claim Verification and Procedure and by

                      8     understating and failing to disclose the risk of fire resulting from the failure of the Bosch Solar

                      9     panels, Bosch Solar acted unfairly, unlawfully and fraudulently against all members of the Class.

                   10       Members of the Class have been injured and will continue to be injured by the enforcement of the

                   11       Warranty Exclusions, and the understatement of the risk of fire posed by the solar panels.

                   12               301.     The enforcement and threatened enforcement of the Warranty

                   13       Disclaimers/Liability Limitations and Warranty Claim Verification and Procedure and the

                   14       understatement and nondisclosure of the risk of fire resulting from the failure of the Bosch Solar

                   15       panels are unfair in that they: (1) violate public policy as expressed in the Consumer Legal

                   16       Remedies Act, the Magnuson-Moss Warranty Act and the Song-Beverly Consumer Warranty

                   17       action; (2) are immoral, unethical, oppressive, unscrupulous and substantially injurious to

                   18       consumers and these factors are not offset by the utility of Bosch’s conduct since the conduct is

                   19       intended to and does only provide impediments to the assertion of valid claims for recovery and

                   20       limit the damages which Bosch Solar is legally obligated to compensate; and (3) inflict

                   21       substantial injury on consumers which is not outweighed by any countervailing benefits to

                   22       consumers or competition and the injury to consumers is one consumers could reasonably have

                   23       avoided.

                   24               302.     Unless enjoined, Bosch’s continued insistence upon the unenforceable Warranty

                   25       Exclusions and failure to reasonably implement a notice and replacement plan to the end-user of

                   26       the recalled Bosch Solar panels threaten to harm the public and the class alleged herein, now and

                   27       in the future.

                   28
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                      1                                 FIFTH CLAIM FOR RELIEF
                                                          (For Unjust Enrichment)
                      2               (Common Law of Arizona, California, Hawaii, Missouri, North Carolina)
                      3

                      4            303.    Plaintiffs incorporate by reference each allegation set forth in the preceding

                      5     paragraphs.

                      6            304.    Pleading in the alternative to an express warranty, Bosch Solar has been unjustly

                      7     enriched in that Bosch Solar received the purchase price of the panels, a benefit which Defendant

                      8     retained at Plaintiffs’ expense.

                      9            305.    Plaintiffs paid $25,089.22 to purchase a Solar system which included 43 Bosch

                   10       Solar panels, model NA30119.

                   11              306.    The benefit that Plaintiff conferred on Bosch Solar and that Bosch Solar retained at

                   12       Plaintiffs’ expense was the purchase price of the 43 NA30119 panels. The chain of distribution of

                   13       Plaintiffs’ panels and the monetary compensation for those panels followed a pattern that is

                   14       typical to all sales of Bosch Solar panels.

                   15              307.    Bosch Solar did not sell its NA30119 solar panels directly to residential end users .

                   16              308.    All NA30119 Bosch Solar panels, including those purchased by plaintiffs, were

                   17       sold by Bosch Solar through approved solar panel distributors.

                   18              309.    Plaintiffs contacted Sullivan Electric to purchase its solar array. Sullivan electric

                   19       agreed to install Plaintiffs’ ground-mounted solar array on Plaintiffs’ property and did so in

                   20       February, 2013. Plaintiffs’ only contact in the transaction to acquire the Bosch Solar Panels was

                   21       Hans Berg of Sullivan Electric.

                   22              310.    At the suggestion of Sullivan Electric, Plaintiffs purchased their array through a

                   23       prepaid solar power agreement with Kilowatt. Plaintiffs paid Kilowatt $25,089.22. A copy of

                   24       Plaintiffs’ check to Kilowatt is attached hereto and marked Exhibit E.

                   25              311.    Kilowatt then paid Sullivan, using Plaintiffs’ money, for the cost of the Bosch

                   26       Solar panels and materials to be purchased by Sullivan to build Plaintiffs’ solar array. Sullivan

                   27       bought the NA30119 panels used on Plaintiffs’ property after Plaintiffs paid Kilowatt the

                   28       $25,089.22 which Kilowatt paid to Sullivan.
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                      1            312.    Sullivan purchased the Bosch Solar panels installed on Plaintiffs’ property from

                      2     Bosch Solar Aleo Solar North America (“Bosch Solar Aleo”), a wholly owned subsidiary of

                      3     Bosch Solar in 2013. Plaintiffs’ money was used by Sullivan to pay the solar distributor for the

                      4     Bosch Solar panels installed on Plaintiffs’ property.

                      5            313.    Using Plaintiffs’ money, the Bosch Solar Aleo paid Bosch Solar for all NA30119

                      6     solar panels installed on Plaintiffs’ property. Plaintiffs’ money to purchase the panels was paid

                      7     initially to Kilowatt, then to Sullivan, and then to the distributor Bosch Solar Aleo who paid

                      8     Bosch Solar directly.

                      9            314.    In this fashion, the benefit of Plaintiffs’ money, namely the purchase price of the

                   10       43 NA30119 Bosch Solar panels, was conferred on Bosch Solar and retained by Bosch Solar

                   11       through the above-described distribution channels for Plaintiffs’ solar panels.

                   12              315.    All of the Bosch Solar NA30119 solar panels were sold to consumers or end-users

                   13       in some variation of the above system, namely consumer or end-user pays the power supplier who

                   14       pays the installer to buy the panels, who buys the panels from the distributor, who pays Bosch.

                   15       Alternatively, the consumer or end-user pays the installer directly who buys the panels with the

                   16       end users’ money from the distributor who pays Bosch.

                   17              316.    Thus, Bosch Solar was paid with Plaintiffs’ money indirectly through its

                   18       distributor Bosch Solar Aleo. The benefit of the purchase price was conferred on Bosch Solar

                   19       and retained at Plaintiffs’ expense.

                   20              317.    As between Plaintiffs and Bosch, it is unjust for Bosch Solar to retain the benefit

                   21       conferred upon it by Plaintiffs in that Plaintiff paid $25,089.22 for the installation of the Bosch

                   22       Solar panels based upon the promises from Bosch Solar that the panels would be free from

                   23       defects and would safely supply certain minimum power output performance, none of which were

                   24       delivered or fulfilled as promised by Bosch.

                   25              318.    Bosch Solar has been further unjustly enriched in that the price paid by Plaintiffs

                   26       and Class members for the panels did not contemplate that consumers would bear the cost of

                   27       testing their panels in order to assert a performance warranty claim. Bosch Solar has refused to

                   28       perform such testing. Plaintiffs and Class Members have and will continue to incur unnecessary
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                      1     expenses in order to investigate and test their Bosch Solar panels to provide evidence of a

                      2     performance warranty claim. All such expenses conferred an unjust benefit on Bosch Solar by

                      3     virtue of Bosch Solar improperly shifting the burden of such expenses to Plaintiffs and members

                      4     of the Class.

                      5            319.     Defendant has been unjustly enriched in that Plaintiffs have expended money in an

                      6     effort to prove a power output claim have saved Defendant Bosch Solar from that expense or loss.

                      7     As such, a benefit has been conferred upon Defendant and retained at Plaintiffs’ expense.

                      8                                          SIXTH CLAIM FOR RELIEF
                                                                (Consumers Legal Remedies Act)
                      9

                   10              320.     Plaintiffs incorporate by reference each allegation set forth in the preceding

                   11       paragraphs.

                   12              321.     Plaintiffs bring this Claim on behalf of the Consumer Legal Remedies Act

                   13       Subclass as defined in paragraph 170e.

                   14              322.     California's Consumer Legal Remedies Act (“CLRA”), California Civil Code §§

                   15       1750, et. seq., proscribes “unfair methods of competition and unfair or deceptive acts or practices

                   16       undertaken by any person in a transaction intended to result or which results in the sale or lease of

                   17       goods or services to any consumer.” Civil Code § 1770

                   18              323.     Where relevant, Plaintiffs also refer to the specific factual allegations supporting

                   19       each element of the claim alleged herein.

                   20              324.     The Bosch Solar panels are “goods” as defined by Civil Code § 1761(a). The

                   21       Bosch Solar Express Warranty is a service as defined by Civil Code § 1761(b).

                   22              325.     Defendants are a “person” as defined by Civil Code§ 1761(c).

                   23              326.     Plaintiffs and Class members are “consumers” as defined by Civil Code§ 1761(d).

                   24       Plaintiffs are original, direct beneficiaries of the Bosch Solar Express Warranty, which as drafted

                   25       by Bosch, provides services to “end-users.” The solar panels are for personal, family, and

                   26       household purposes.

                   27              327.     The provision of solar panels as described herein and the provision of the Bosch

                   28       Solar Express Warranty are “transactions” as defined by Civil Code§ 1761(e).
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                      1            328.    Under the CLRA, Civil Code § 1770, et seq., the following methods of

                      2     competition are unlawful when any person in a transaction intended to result or which results in

                      3     the sale or lease of goods or services to any consumer:

                      4                    a.     “Representing that goods …. Have sponsorship, approval, characteristics,

                      5                           ingredients, uses, benefits, or quantities which they do not have.” Civil

                      6                           Code § 1770(a)(5).

                      7                    b.     “Representing that goods… are of a particular standard, quality, or grade,

                      8                           or that goods are of a particular style or model, if they are of another.:

                      9                           Civil Code § 1770(a)(7).

                   10                      c.     “Representing that a transaction confers or involves rights, remedies, or

                   11                             obligations that it does not have or involve, or that are prohibited by law.”

                   12                             Civil Code § 1770(a)(14).

                   13                      d.     “Inserting an unconscionable provision in the contract.” Civil Code §

                   14                             1770(a)(19).

                   15              329.    Defendant Bosch Solar violated Civil Code §§ 1770(a)(5) and (a)(7) when it

                   16       represented that it provided a 25-year performance warranty with remedies in the event of power

                   17       output loss.

                   18              330.    Defendant violated Civil Code § 1770(a)(19) by including in the Warranty the

                   19       unconscionable provisions, as more fully described hereinabove. This includes but is not limited

                   20       to representing that the solar panels are covered by the warranties without adequately disclosing

                   21       to consumers the proposed warranty claim system and that the cost of making a warranty claim

                   22       would likely equal or exceed the cost of the entire solar array. This also includes providing a

                   23       provision that violates 15 U.S.C. § 2304(d)(1), as alleged above.

                   24              331.    Had Plaintiffs and members of the Consumer Subclasses known that the true facts

                   25       regarding the STC and proposed warranty claims process, Plaintiffs and members of the

                   26       Consumer Subclasses would not have purchased the Bosch Solar panels or purchased properties

                   27       on which the Bosch Solar panels were installed. Plaintiffs and members of the Consumer

                   28       Subclasses would not have made these purchases because making a warranty claim would be
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                      1     prohibitively expense and the warranty would fail its essential purpose. Without a guarantee that

                      2     the solar panels would perform for the promised period of time, the solar panels would not be

                      3     cost-justified. The entire purpose of a warranty is that the business providing a product or service

                      4     agrees to assume the risk of non-performance of the product or service. In the present case,

                      5     Bosch Solar has included language in the warranty that cannot be understood by a reasonable

                      6     consumer for the purpose of shifting the risk to the consumer while giving consumers the

                      7     impression that they have warranty coverage.

                      8            332.    As a result of Defendant's unfair and deceptive acts and practices, Plaintiffs and

                      9     the CLRA Subclass have been harmed, as alleged hereinabove, and seek actual damages

                   10       according to proof, attorneys' fees and costs and such other relief as the court deems proper.

                   11              333.    Plaintiffs served Defendant Bosch Solar with notice of its violations of the CLRA

                   12       pursuant to Civil Code§ 1782 (the “Notice”) by certified mail on September 24, 2018. A copy of

                   13       the Notice is attached hereto as Exhibit F. Bosch Solar failed to provide or offer to provide

                   14       remedies for its violations of the CLRA within 30 days of the date of the Notice.

                   15              334.    Plaintiffs and other California Members’ injuries were proximately caused by

                   16       Bosch's fraudulent and deceptive business practices.

                   17              335.    Therefore, Plaintiffs and the other California Class Members are entitled to

                   18       equitable and monetary relief under the CLRA.

                   19              336.    In addition, the acts of Bosch Solar in omitting relevant facts concerning the Bosch

                   20       Solar Express Warranty, deceived Plaintiffs and the Class concerning the benefits that they were

                   21       purportedly receiving under the Bosch Solar Express Warranty and furthered a strategy of

                   22       suppressing claims and deceptively shifting the risk back to the consumer. While Bosch Solar

                   23       has imposed these obstacles to warranty claims, nearly 44,000 admittedly defective panels remain

                   24       in place and present a fire risk. While Bosch Solar has initiated a recall, Bosch Solar

                   25       misrepresented to the CPSC that it would directly contact consumers but it has not done so. As

                   26       more fully alleged above, Bosch Solar has had no contact or virtually no contact with consumers

                   27       regarding the defect and nearly all of the dangerous panels remain in place.

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                      1            337.    The conduct as alleged above was: (1) malicious in that they represent “despicable

                      2     conduct” conduct carried on by Bosch Solar with a willful and conscious disregard of the rights

                      3     or safety of others; (2) oppressive in that they represent “despicable conduct that subjects a person

                      4     to cruel and unjust hardship in conscious disregard of that person's rights;” and (3) fraudulent.

                      5     Accordingly, Plaintiffs and the Class are entitled to punitive damages according to proof.

                      6                                          PRAYER FOR RELIEF
                      7            WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated, pray

                      8     the Court to certify the Class as defined hereinabove, to enter judgment against Defendants and in

                      9     favor of the Class, and to award the following relief:

                   10              1.      For certification of the proposed Class and each Subclass thereof;

                   11              2.      For the cost of removal and replacement of the Bosch Solar c-Si M 60 NA30119

                   12                      solar panels;

                   13              3.      For compensatory damages as alleged herein, according to proof;

                   14              4.      For an injunction enjoining Bosch Solar from enforcing, threatening to enforce or

                   15       claiming the right to enforce any of the unconscionable Warranty disclaimers and limitations, and

                   16       to compel Bosch Solar to:

                   17                      (a)     advise consumers affirmatively of their rights to all damages to which they

                   18                              are lawfully entitled;

                   19                      (b)     make full disclosure to all members of the Class concerning the risk of fire

                   20                              resulting from the failure of the Bosch Solar panels;

                   21                      (c)     establish a protocol, at no charge to Plaintiffs and the Class to determine if

                   22                              they are the end-users or owners of the Bosch Solar panels and the amount

                   23                              of power loss degradation the Bosch Solar panels experienced;

                   24              5.      For costs and attorneys’ fees, as allowed by law;

                   25              6.      For punitive damages;

                   26              7.      For such other further legal or equitable relief as this Court may deem appropriate

                   27       under the circumstances; and

                   28
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                      1            8.      In the alternative, Plaintiffs pray to recover amounts that Bosch Solar was unjustly

                      2     enriched, according to proof at trial.

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                      4
                                                                          By:  /s/ David M. Birka-White
                      5                                                   DAVID M. BIRKA-WHITE

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                   19                                                 510 Walnut Street, Suite 500
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                                                                      Facsimile: (215) 592-4662
                   21
                                                                      Attorneys for Individual and Representative Plaintiffs
                   22                                                 STEVE R. ROJAS and ANDREA N. ROJAS, on behalf
                   23                                                 of themselves and all others similarly situated

                   24                                PLAINTIFFS’ DEMAND FOR JURY TRIAL
                   25              Plaintiffs STEVE R. ROJAS and ANDREA N. ROJAS, on behalf of themselves and all
                   26       others similarly situated, by and through their counsel, hereby demand a jury trial of all issues in
                   27       the above-captioned matter.
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                      2                                         By:  /s/ David M. Birka-White
                      3                                         DAVID M. BIRKA-WHITE

                      4                                         Attorneys for Individual and Representative
                                                                Plaintiffs STEVE R. ROJAS and ANDREA N.
                      5                                         ROJAS, on behalf of themselves and all others
                                                                similarly situated
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                              Exhibit A

303 East Lipoa Street                  480 Piilani Highway
Kihei, HI 96753                        Kihei, HI 96753

3300 Honoapiilani Highway              84-439 Ikuone Place
Lahaina, HI 96761                      Waianae, HI 96792

84-445 Ikuone Place
Waianae, HI 96792
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                                    Exhibit B
Active Solar, Inc.                           AMECO Solar LLC
204 West Spear Street                        7623 Somerset Blvd
#2526                                        Paramount, CA 90723
Carson City, NV 89703

Applied Solar Energy Solutions               Citi Green, Inc.
765 State College Blvd                       11812 Kemper Road
#H                                           Auburn, CA 95603
Fullerton, CA 92831

Clean Power Construction LLC                 Direct Power and Water Corporation
24941 Dana Point Harbor Drive                4000 Vassar Drive NE
Suite C-220                                  Suite B
Dana Point, CA 92629                         Albuquerque, NM 87107

DwellTek Solar, LLC                          Esmay Electric, Inc.
967 Roundup Way                              2160 W. Acoma Blvd.
Oakley, UT 84055                             #102
                                             Lake Havasu City, AZ 86403

Gen819, Inc.                                 Green Solar Technologies, Inc.
1235 Activity Dr.                            6400 Laurel Canyon Blvd.
Suite E                                      #400
Vista, CA 92081                              North Hollywood, CA 91606

PacificSky Solar, LLC                        Shaw Solar & Energy Conservation LLC
20640 Bahama Street                          1877 E 3rd St
Unit B                                       Durango, CO 81301
Chatsworth, CA 91311

Solar Alliance of America, Inc.              Solar Direct LLC
82 Richmond Street East                      18084 W Pasco Way
Toronto, Ontario M5C 1P1                     Goodyear, AZ 85338

Sunpro Solar, Inc.                           The Tri-M Group, LLC
38340 Innovation Ct.                         204 Gale Lane
#704                                         Kennett Square, PA 19348
Murrieta, CA 92563

TMAG Industries, Inc.
6965 El Camino Real
Suite 105-444
Carlsbad, CA 92009
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                    EXHIBIT C
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Notice Administrator for U. S. District Court
Northern District of California
P.O. Box 0000
City, ST 0000



Class action notice about fire risk in
Bosch model c-Si M NA30119 solar panels.
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             Court settlement:
       If you still own recalled Bosch
model c-Si M NA30119 solar panels, get them
            replaced at no cost.
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                   UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA



      Class action settlement notice: Bosch
    solar panels model c-Si M NA30119 were
    recalled due to fire risk. Act now to have
          your panels replaced for free.
        A court authorized this notice. This is not a solicitation from a lawyer. Read this carefully.

•      A proposed settlement has been reached in a class-action lawsuit about an alleged defect
       in Bosch Solar Energy Corporation (“Bosch Solar”) solar panels model c-Si M NA30119
       (“NA30119”) claiming the solder joints pose a fire safety risk. Other Bosch Solar panels
       are not affected. Bosch Solar started a voluntary recall of NA30119 units and under the
       settlement will replace roof and ground mounted NA30119 units at no cost to current
       owners who submit claims.

•      Act now to submit a claim form and a photo of your panels, or to exercise other rights.

•      If you are included, your legal rights are affected whether you act or not.

                           CLASS MEMBER RIGHTS AND OPTIONS:
    SUBMIT A CLAIM FORM            Request free replacement panels, as described in this notice.

                                   Also called “opting out.” The only option that allows you to sue
    ASK TO BE EXCLUDED
                                   Bosch Solar over the claims resolved by this settlement.

          OBJECT                   Write to the Court about why it should reject the settlement.

      GO TO A HEARING              Ask to speak in Court about an objection.

        DO NOTHING                 Get no replacement panels. Give up rights to sue.

•      If you own these panels—OR own a property on which they are installed (for example
       you might be leasing them from a solar company) you have 25 years from when they
       were purchased OR until December 31, 2038 (whichever is earlier) to submit a claim.
       But act soon to make sure the panels are replaced as quickly as possible.

•      If you want to be Excluded (opt out) or Object you must do so by Month, 00 0023.

•      The Court in charge of this case will listen to any objections and decide whether to
       approve the settlement, and it will hold a hearing on Month, 00, 2023.




           QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW.______________.COM
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                                          BASIC INFORMATION
1.      Why was this notice issued?

A Court authorized this notice because you have a right to know about a proposed settlement of this class
action, including the right to request free replacement panels, and about all your other options, before the Court
decides whether to give “final approval” to the settlement. This notice explains the lawsuit, the settlement,
your legal rights, what benefits are available, who may be eligible for them, and how to get them.

Judge Beth Labson Freeman is overseeing this class action. The case is known as Rojas v. Bosch Solar Energy
Corp., Case No. 5:18-cv-5841BLF in the United States District Court for the Northern District of California,
San Jose division. The people who sued are called the “Plaintiffs,” and the companies they sued, together
referred to as “Bosch Solar,” are called the “Defendants.”

2.      What is this lawsuit about?

The lawsuit claimed the NA30119 panels were defective and pose a fire risk. The suit said Bosch Solar
breached its warranty, was unjustly enriched, and the suit sought replacement of all roof and ground mounted
panels. Bosch Solar denies these claims, maintains that it acted lawfully, and voluntarily recalled all roof
mounted panels.

3.      Is there something wrong with the model NA30119 panels?

Bosch Solar determined that where electrical contacts to the solder had degraded, the resulting resistance could
result in heat, and that it was theoretically possible for a fire to result. No fires have been reported. Bosch
Solar voluntarily recalled roof mounted panels under the United States Consumer Product Safety Commission
(“CPSC”) Fast Track Recall process. The CPSC says the solar panels can overheat, posing a risk of fire.

4.      What is a class action?

In a class action, one or more people called “Class Representatives” (in this case, Steve R. Rojas and Andrea
N. Rojas), sue on behalf of people who have similar claims. All these people are a “Class” or “Class
members.” One court resolves the issues for everyone except those who exclude themselves from the Class.

5.      Why is there a settlement?

The Court did not decide who is right. Instead, both sides agreed to settle. That way, they avoid a costly trial,
and all the affected panels can be replaced for free. The Class Representatives and their attorneys think the
settlement is best for all Class members. The settlement does not mean that Bosch Solar did anything wrong.

                                    WHO IS IN THE SETTLEMENT
To see if you can get benefits from this settlement, you first must decide if you are a Class member.

6.      How do I know if I am part of the settlement?

Judge Freeman decided that everyone who fits this description is a Class Member: All persons or entities in
the United States who are the current owners of Bosch c-Si M 60 NA30119 solar modules or the current
owners of premises on which Bosch c-Si M 60 NA30119 solar modules are installed. Continue reading to
learn more.

                                                       -3-
             QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW._______________.COM
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7.       Which solar panels are included?

The solar panels are Bosch model c-Si M 60 NA30119, which were sold through distributors and commercial
installers nationwide from October 2011 through May 2013 for about $300 per panel. At this time, Bosch
Solar believes most of the remaining NA30119 solar panels are installed in southern California.

8.       What do the solar panels look like?

Each panel measures approximately 65 inches by 39 inches by 1.65 inches. Each c-Si M 60 NA30119 panel
contains 60 cells, arranged in 10 rows of 6 cells. Each cell is marked with the Bosch brand logo. The frame
edge of the panel is smooth, with no grooves. These pictures may help you identify the panels:




Closeup of one of the sixty (60)     The front of one entire NA30119     The frame edge showing its smooth
cells (above).                       panel showing the sixty (60)        flat surface, without grooves.
                                     cells.
Closeup of the Bosch logo that
appears in the corner of each cell
(below).


9.       If I own a property where they are installed, but lease the panels, am I included?

Yes. You are a class member and may file a claim for replacement if you own the property where the
NA30119 panels are installed even if you lease the panels from a solar company. You are also a class member
if you own the panels but not the property on which they are installed.

10.      Are there exceptions to being included?

You are not a class member if you already had your NA30119 panels replaced under the recall or warranty.
Also, you are not a class member if you own an array of one hundred (100) or more ground mounted NA30119
panels. There are other exclusions listed in the Settlement Agreement to be found at the website listed below.



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11.      I’m still not sure I’m included.

If you are not sure whether you are included, call the toll-free number: 1-800-000-0000.

                       THE SETTLEMENT BENEFITS—WHAT YOU GET
12.      What benefits does the settlement provide?

The settlement provides full replacement of NA30119 panels that are still installed on the roofs of structures or
that are mounted on the ground. A Settlement Agreement, available at www.________.com, describes all of
the details about the proposed settlement.

13.      How much time do I have to request replacement?

If you have the NA30119 panels, you have 25 years from the date they were originally purchased, or until
December 31, 2038, whichever is earlier. The panels were sold between 2011 and 2013. If you don’t know
when they were purchased, you should submit your claim anyway, as soon as possible.

14.      Will the replacement panels work the same way?

The new panels may differ in size, color, shape, model number, or manufacturer, but the output of your
replacement panels will provide the same or greater power than your Bosch Solar NA30119 solar array.

15.      Can I get money instead of replacement?

No. The settlement provides for replacement panels to remedy the claims made in the lawsuit.


                 HOW TO GET A PAYMENT—SUBMITTING A CLAIM FORM
16.      How can I request replacement of my panels?

Complete and submit a claim form to request replacement. The claim form is attached to this notice if you
received it in the mail. You may also find one at www._______.com. Be sure to include pictures of your solar
panels and other helpful information requested in the claim form. Send your submission to:

               Before Month 00, 0000                                     After Month 00, 0000

              [Notice Provider Address]                              [Claims Administrator Address]


17.      How will my claims for replacement be evaluated?

The Claims Administrator will review your claim form and then possibly inspect your array to confirm you
have NA30119 panels. If so, they will be replaced. Otherwise, they will not be.

18.      When will my panels be replaced?

If your panels are NA30119 panels, Bosch Solar will replace them as soon as practicable after receipt of your
claim form. Bosch Solar will not delay the replacement of the panels based on any objections to the
settlement.

                                                      -5-
             QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW._______________.COM
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19.      What am I giving up if I stay in the Class or request replacement?

Unless you exclude yourself, you are staying in the Class, and that means that you can’t sue Bosch Solar over
the claims in this case. It also means that all the Court’s orders will apply to you and legally bind you.
Whether you submit a claim form not, if you do not opt out of the Class (see below), you will agree to “release
and discharge” Bosch Solar as described in the Settlement Agreement. The Settlement Agreement can be
obtained at www._______.com, and it specifically describes the released claims in necessarily accurate legal
terminology. Talk to Class Counsel (see below), or your own lawyer, if you have questions about the released
claims.

                      EXCLUDING YOURSELF FROM THE SETTLEMENT
If you want to keep the right to sue Bosch Solar about the issues in this case, then you must take steps to get
out, called “excluding yourself” from—sometimes referred to as “opting out” of—the Settlement Class.

20.      How do I get out of the settlement?

To exclude yourself from the settlement, you must send a letter by mail saying that you want to be excluded
from Rojas v. Bosch Solar Energy. Be sure to include your full name, address, telephone number, and your
signature. Include the address where your NA30119 panels are installed and how many you own. You must
mail your exclusion request postmarked by Month 00, 2023 to:

                                  Rojas Exclusions
                                  P.O. Box ______
                                  __________________________
You can’t exclude yourself on the phone, by email, or at the website.

21.      If I don’t exclude myself, can I sue Bosch Solar for the same thing later?

No. If you do not exclude yourself, you may never sue (or be part of any other class action against) Bosch
Solar over the claims resolved by this settlement. Remember, the exclusion deadline is Month 00, 2023.

22.      If I exclude myself, can I get my NA30119 solar panels replaced?

Yes. If you exclude yourself, you may still ask for replacement panels under the recall process.

                               THE LAWYERS REPRESENTING YOU
23.      Do I have a lawyer in this case?

The Court has appointed Birka-White Law Offices, 178 E. Prospect Ave, Danville, CA 94526; Levin Sedran &
Berman LLP, 510 Walnut Street, Suite 500, Philadelphia, PA 19106; and Farella Braun + Martel, 235
Montgomery Street, San Francisco, CA 94104 to represent you and other Class members. Together they are
called “Settlement Class Counsel”. You do not have to pay them. If you want to be represented by your own
lawyer (perhaps to have that lawyer appear in Court for you), you may hire one at your own expense.

24.      How will the lawyers be paid?

If the Court approves the settlement, Bosch Solar will pay Settlement Class Counsel $1,400,000 to cover their
fees and expenses. Class members will not be charged for this payment, and it will not affect panel
replacements. Bosch Solar will also separately pay the costs to identify and notify Class members, and to
administer the settlement.

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             QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW._______________.COM
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25.      Will the Class Representatives receive a cash payment?

If the Court approves the settlement, Settlement Class Counsel will ask the Court to approve an incentive
award of up to $10,000 total to be paid by Bosch Solar to Steve and Andrea Rojas, in recognition of the time
and effort they spent helping counsel pursue the class action and settlement on behalf of all other Class
members. The Rojas’ are also entitled to claim replacement panels like other Class members. There is no
other agreement to provide payments to Plaintiffs or other parties.

                                OBJECTING TO THE SETTLEMENT
Class members may object to the settlement and ask the Court to reject it. The Court will consider your views.

26.      Why would I object to the settlement?

If you are opposed to the settlement, you can object to its approval. You can’t ask the Court to order a
different settlement; the Court can only approve or reject this settlement. If the Court denies approval, you
will not be bound by it, and the lawsuit will continue. If that is what you want to happen, you should object.

27.      How do I object to the settlement?

To object, you must write a letter to the Court and include the information in Question 28. The Court will
enter it into the electronic filing system for the public record. If you want to object, be sure to send your
objection by Month 00, 2023 to:

                                            Clerk of Court
                                          San Jose Courthouse
                                         Courtroom 3, 5th Floor
                                          280 South 1st Street
                                          San Jose, CA 95113

28.      What do I have to include in an objection?

You must indicate the case name: Rojas v. Bosch Solar Energy, and the case number: 5:18-cv-5841BLF. State
your full name, address, telephone number, and signature. You must provide the address where your
NA30119 panels are installed, and how many you own. You must state the specific grounds for your
objection, whether it affects only you, a specific subset of Class members, or the whole Class. You must also
indicate whether you intend to appear at the Fairness Hearing (See below).

29.      What’s the difference between objecting and asking to be excluded?

Objecting is telling the Court that you oppose approval of the settlement. You can object only if you stay in
the Class. This means that you may not exclude yourself and also object.

                               THE COURT’S FAIRNESS HEARING
The Court will hold a hearing to decide whether to approve the settlement. You may attend and you may ask
to speak, but you don’t have to.

30.      When and where will the Court decide whether to approve the settlement?

The Court has scheduled a Fairness Hearing at 00:00 _.m. on Month 00, 2023, at the San Jose Courthouse,
Courtroom 3, 5th Floor, 280 South 1st St., San Jose, CA 95113. You may also attend by zoom using the

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             QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW._______________.COM
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instructions at www.______.com. At this hearing, the Court will consider whether the settlement is fair,
reasonable, and adequate. If there are objections, the Court will consider them. The Judge will listen to people
who have asked to speak about an objection. At or after the hearing, the Court will decide whether to approve
the settlement. We do not know how long this decision will take. The hearing may be moved to another day,
time, or location, so check www.______.com for updates.

31.      How do I request to appear at the Fairness Hearing?

If you or your separate attorney (if you have one) wish to appear at the Fairness Hearing, send a signed letter
with your name/address/phone number, and your attorney’s name/address/phone number/bar number. Include
a list of any witnesses you intend to call at the Fairness Hearing, the address of each witness, a summary of his
or her proposed testimony, and copies of all exhibits you intend to introduce at the Fairness Hearing. Note:
you do not need a lawyer to ask to appear at the Fairness Hearing. Send your request by Month 00, 2023 to:

                                             Clerk of Court
                                           San Jose Courthouse
                                          Courtroom 3, 5th Floor
                                           280 South 1st Street
                                           San Jose, CA 95113

32.      Do I have to come to the Fairness Hearing?

No. Settlement Class Counsel and the lawyers for Bosch will answer questions that the Judge may have. But
you are welcome to come at your own expense. If you send an objection, you don’t have to come to Court to
talk about it. If you filed and mailed your written objection on time, the Court will consider it. You may also
pay your own lawyer to attend, but it’s not necessary.

33.      May I speak at the Fairness Hearing?

If you submitted an objection to the settlement and you asked to appear at the Fairness Hearing (be sure you
provide all the information identified in this notice), you may ask the Court for permission to speak at the
Fairness Hearing. You cannot speak at the hearing if you exclude yourself.

                                          IF YOU DO NOTHING
34.      What happens if I do nothing at all?

If you do nothing, you will not have the solar panels replaced, leaving a potential fire risk in place. But you’ll
release Bosch Solar and never be able to sue Bosch Solar for the claims in this case.

                                   GETTING MORE INFORMATION
35.      How do I get more information about the settlement?

This notice summarizes the proposed settlement. For the precise terms of the settlement, please see the
Settlement Agreement at www.____________.com, by contacting class counsel through that website, by
accessing the Court docket in this case for a fee through the Court’s Public Access to Court Electronic Records
(PACER) system at https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of the Court for the
United States District Court for the Northern District of California, 280 South 1st Street, San Jose, CA 95113,
between 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding Court holidays. Please do not telephone
the Court or the Court Clerk’s office to inquire about this settlement or the claim process.



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             QUESTIONS? CALL 1-800-000-0000 TOLL FREE, OR VISIT WWW._______________.COM
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                                                    LEGAL NOTICE


         Class action settlement notice:
   Bosch solar panels model c-Si M NA30119
  were recalled due to fire risk. Act now to have
          your panels replaced for free.
   There is a proposed settlement in a class-action                     WHAT ARE YOUR OTHER OPTIONS?
lawsuit about an alleged defect in Bosch solar panels              If don't want to be legally bound by this
model c-Si M NA30119, claiming the solder joints                settlement, you must exclude yourself by Month 00,
pose a fire safety risk. Other Bosch solar panels are           2023 or you won’t be able to sue Bosch Solar about
not affected. Bosch Solar had started a voluntary               the claims in this case ever again. If you don’t
recall, and now will replace                                                              exclude yourself, you may
roof and ground mounted                                                                   object to it by Month 00,
NA30119 units at no cost to                                                               2023. The detailed notice
owners who submit claims.                                                                 explains how. The United
                                                                                          States District Court for the
     WHO'S INCLUDED?                                                                      Northern       District     of
   The settlement includes                                                                California will hold a
all current owners of                                                                     hearing in this case (Rojas v.
NA30119 panels or the                                                                     Bosch Solar, Case No. 5:18-
properties on which they are                                                              cv-5841BLF) on Month 00,
installed. In other words,                                                                2023, to consider whether to
you are included if you are                                                               approve the settlement. If
leasing the panels, for                                                                   so, the lawyers representing
example.       You are not                                                                Class members (including
included if you already had                                                               Birka-White Law Offices,
these panels replaced under                                                               Danville, CA; Levin Sedran
warranty or the recall.                                                                   &         Berman        LLP,
Owners of 100 panel or                                                                    Philadelphia,     PA;     and
greater      ground-mounted                                                               Farella Braun + Martel, San
arrays are not included. Not                                                              Francisco, CA) will be paid
sure if you are included?                                                                 $1,400,000 by Bosch Solar
Get the detailed notice at                                                                for fees and expenses. The
www.______.com. It tells                                                                  Court may also approve a
you even more about who is                                                                payment of up to $10,000
included and excluded.                                                                    total to two Class members,
                                                                                          Steve and Andrea Rojas,
 ABOUT THE SETTLEMENT.                                                                    who worked with the
   If you are included, you                                                               lawyers to represent other
have 25 years from when                                                                   Class members.        You or
they were purchased OR                                                                    your own lawyer may appear
until December 31, 2038                                                                   and ask to speak at the
(whichever is earlier) to                                                                 hearing, at your own cost,
                                  EACH BOSCH SOLAR NA30119 PANEL HAS SIXTY CELLS,
submit a claim. Get the           AND EACH CELL HAS THE BOSCH LOGO IN THE LOWER LEFT      but you don’t have to. If the
claim          form        at     CORNER. THE EDGES ARE SMOOTH, NOT GROOVED.              Court       approves       the
www.______.com.           You                                                            settlement, Bosch Solar will
simply need to provide the address where the panels             be released from all liability for the claims in this
are installed and a photo of the panels. Bosch Solar            case. The settlement agreement explains this fully.
will investigate your claim and replace them at no              To learn more, call or visit the website:
cost to you if they are NA30119 panels. But act soon
to make sure the panels are replaced as quickly as                           1-800-000-0000
possible. Learn more by calling 1-800-000-0000 or
at www.________.com.
                                                                       www.___________.com
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                                                           Claim Form                              Rojas v. Bosch Solar

                   For replacement of Bosch solar panels model c-Si M NA30119
 This claim form is to request replacement of Bosch solar panels model c-Si M NA30119. Read the detailed notice at
 www.________.com to get information describing the panels and pictures of what they look like. Each panel is 65 inches high by
 39 inches wide by 1.65 inches thick. Each panel contains 60 cells, arranged in 10 rows of 6 cells. Each cell is marked with the
 Bosch brand logo. The edge of the panel’s frame is smooth, with no grooves.


                                      Where are your Panels Installed?
 Street Address:                                                     City:

 Street Address:                                                     State:                          Zip:


                                                 System Information
 How many Bosch NA30119 solar panels are installed in your solar array: ____

 Are your Bosch NA30119 solar panels:         roof mounted       ground mounted

 If you know the name of the company that installed your system, please provide:

 If you know the approximate date your system was installed, please provide (month/day/year): ____ /____ /________

                                                       Photographs
 Please send clear photographs of the building or the location of the solar panel array on which the Bosch Solar NA30119 panels
 are installed. If you are filling this form out online, follow instructions to upload them. The ideal photos will show:
          •    The front of a Bosch NA30119 solar panel showing all sixty (60) cells arranged in 10 rows of six each.
          •    A close-up of one of the sixty (60 cells) showing the Bosch logo in the corner.
          •    The side of the panel showing it is flat and smooth and does not have a groove.
 Do you know of any co-owners of the Panels? (Provide name and address; use a separate sheet if necessary)




                                                         Documents
 If you have it, please send the original purchase documentation for your Bosch NA30119 solar panel array. This will expedite your
 replacement. If you don’t have it, please submit your claim form anyway.

                                        Customer/Owner Information
Name:                                                                State:                          Zip:

Street Address:                                                      Cell Phone #:

Street Address:                                                      Other Phone #:

City:                                                                Email Address:


                                                          Signature
 I will provide all information and/or additional materials reasonably requested by Bosch Solar. The information above is accurate.


  __________________________________                 _______________________________________________________
  Date                                               Signature

                                                     _______________________________________________________
                                                      Printed Name

Please send this Claim Form as soon as                Claims Administrator                              Questions?
possible to:                                          Address 1
                                                                                                     1-800-000-0000
                                                      Address 2
                                                                                                    www.________.com
                                                      City, ST 00000
